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                                                                                    APPEAL,JD1,TERMED
                        U.S. District Court − District of Colorado
                              District of Colorado (Denver)
                   CIVIL DOCKET FOR CASE #: 1:23−cv−00645−NYW
                                    Internal Use Only

   Shaver v. Whittier Condominiums HOA                            Date Filed: 03/13/2023
   Assigned to: Judge Nina Y. Wang                                Date Terminated: 05/09/2023
   Demand: $5,000,000                                             Jury Demand: None
   Case in other court: U.S. Court of Appeals for the Tenth       Nature of Suit: 440 Civil Rights: Other
                        Circuit, 23−01197                         Jurisdiction: Federal Question
   Cause: 42:1983(c)(v)(p) − Civil Rights (Personal Property)
   Plaintiff
   David William Dacres Shaver                       represented by David William Dacres Shaver
                                                                    1750 30th Street
                                                                    #A338
                                                                    Boulder, CO 80301
                                                                    303−351−4239
                                                                    PRO SE


   V.
   Defendant
   Whittier Condominiums HOA
   (City of Boulder has been sent Notice)


    Date Filed      #   Docket Text
    03/13/2023      1   COMPLAINT for Cause of Action: Replevin against Whittier Condominiums HOA
                        (Filing Fee: $402.00, Receipt Number: 106315), filed by David William Dacres
                        Shaver. (Attachments: # 1 Civil Cover Sheet, # 2 Exhibits, # 3 Attachments, # 4
                        Summons, # 5 Notice of a Lawsuit and Request to Waive Service of a Summons, # 6
                        Waiver of the Service of Summons, # 7 Declaration of Facts, # 8 Proposed Writ of
                        Assistance) (blaws) (Entered: 03/14/2023)
    03/13/2023      2   Unsealed MOTION for Suppressing or Sealing by Plaintiff David William Dacres
                        Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023      3   RESTRICTED DOCUMENT − Level 1: Sealed Memorandum in Support of Sealing
                        to # 2 Motion by Plaintiff David William Dacres Shaver. (blaws) (Entered:
                        03/14/2023)
    03/13/2023      4   RESTRICTED DOCUMENT − Level 1: Affidavit by Plaintiff David William Dacres
                        Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023      5   RESTRICTED DOCUMENT − Level 1: Exhibit A to # 1 Complaint by Plaintiff
                        David William Dacres Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023      6
                                                   001
                                                                                                            1
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                      RESTRICTED DOCUMENT − Level 1: Exhibit B to # 1 Complaint by Plaintiff
                      David William Dacres Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023    7   RESTRICTED DOCUMENT − Level 1: Exhibit K to # 1 Complaint by Plaintiff
                      David William Dacres Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023    8   OBJECT to Assignment to Magistrate Pursuant to Colorado Rules for Magistrates by
                      Plaintiff David William Dacres Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023    9   BRIEF in Support of # 1 Complaint, by Plaintiff David William Dacres Shaver.
                      (blaws) (Entered: 03/14/2023)
    03/13/2023   10   EMERGENCY MOTION for Preliminary Injunction by Plaintiff David William
                      Dacres Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023   11   MOTION for Judicial Review of Forum and Jurisdiction Clauses by Plaintiff David
                      William Dacres Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023   12   MOTION for Permissive Joinder of Third Parties if Appropriate by Plaintiff David
                      William Dacres Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023   13   Pre−Pleading Memoranda of Law in Support of 12 MOTION for Joinder filed by
                      Plaintiff David William Dacres Shaver. (blaws) (Entered: 03/14/2023)
    03/13/2023   14   MOTION to Perform Site Inspection by Plaintiff David William Dacres Shaver.
                      (blaws) (Entered: 03/14/2023)
    03/13/2023   15   Case assigned to Judge Nina Y. Wang. Text Only Entry. (blaws) (Entered:
                      03/14/2023)
    03/14/2023   16   ORDER TO SHOW CAUSE: Plaintiff shall SHOW CAUSE, in writing, on or before
                      March 31, 2023, why this case should not be dismissed without prejudice for lack of
                      federal subject matter jurisdiction. By Judge Nina Y. Wang on 3/14/2023. (trvo, )
                      (Entered: 03/14/2023)
    03/14/2023   17   CERTIFICATE of Service by Mail by Clerk of Court re 16 Order to Show Cause to
                      David William Dacres Shaver at 1750 30th Street #A338 Boulder, CO 80301. Text
                      Only Entry. (trvo, ) (Entered: 03/14/2023)
    03/14/2023   18   Exhibits in Support of 1 Complaint, by Plaintiff David William Dacres Shaver.
                      (Attachments: # 1 Exhibit D, # 2 Exhibit E, # 3 Exhibit F, # 4 Exhibit G, # 5 Exhibit
                      H, # 6 Exhibit I) (blaws) (Entered: 03/16/2023)
    03/15/2023   19   MOTION for Permissive Joinder of 3rdP If Appropriate by Plaintiff David William
                      Dacres Shaver. (trvo, ) (Entered: 03/17/2023)
    03/15/2023   20   Declaration of Facts Regarding Notice to Christine Mollenkopf by Plaintiff David
                      William Dacres Shaver (trvo, ) (Entered: 03/17/2023)
    03/27/2023   21   Declaration of Facts Regarding Notice to City of Boulder by Plaintiff David William
                      Dacres Shaver. (sdunb, ) (Entered: 03/28/2023)
    03/27/2023   22   SUMMONS REQUEST as to Whittier Place Condominiums HOA, Inc. by Plaintiff
                      David William Dacres Shaver. (sdunb, ) (Entered: 03/28/2023)
    03/28/2023   23   SUMMONS issued by Clerk. (sdunb, ) (Entered: 03/28/2023)
    03/31/2023   24
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                      RESPONSE TO 16 ORDER TO SHOW CAUSE by Plaintiff David William Dacres
                      Shaver. (trvo, ) (Entered: 04/04/2023)
    03/31/2023   25   CERTIFICATE of Service by David William Dacres Shaver (trvo, ) (Entered:
                      04/04/2023)
    04/03/2023   26   Conventionally Submitted Material: 1 USB Drive re 25 Certificate of Service by
                      Plaintiff David William Dacres Shaver. Material placed in the Clerk's Office A−1−7.
                      Text Only Entry. (trvo, ) (Entered: 04/04/2023)
    04/12/2023   27   ORDER. The Order to Show Cause [Doc. 16 ] is MADE ABSOLUTE. Plaintiff's
                      Complaint [Doc. 1 ] is DISMISSED without prejudice for lack of subject matter
                      jurisdiction. Plaintiff is GRANTED LEAVE to file an amended complaint within 21
                      days of the date of this Order. Plaintiff is ADVISED that any amended pleading must
                      comply with Rule 8 and Rule 10 of the Federal Rules of Civil Procedure. Plaintiff is
                      ADVISED that if he fails to file an amended pleading by the Court's deadline, this
                      Court will direct the Clerk of Court to terminate this case without further warning
                      from the Court. The pending Motions in this case [Doc. 2 ; Doc. 10 ; Doc. 11 ; Doc. 12
                      ; Doc. 14 ; Doc. 19 ] are DENIED without prejudice as moot. By Judge Nina Y.
                      Wang on 4/12/2023.(trvo, ) (Entered: 04/12/2023)
    04/12/2023   28   CERTIFICATE of Service by Mail by Clerk of Court re 27 Order to David William
                      Dacres Shaver at 1750 30th Street #A338 Boulder, CO 80301. Text Only Entry. (trvo,
                      ) (Entered: 04/12/2023)
    04/13/2023   29   CERTIFICATE of Service by David William Dacres Shaver. (trvo, ) (Entered:
                      04/13/2023)
    04/14/2023   30   Conventionally Submitted Material: 1 CD containing Exhibit L, Communications &
                      Logs of 4.12 by Plaintiff David William Dacres Shaver. Material placed in the Clerk's
                      Office A−1−7. Text Only Entry. (trvo, ) (Entered: 04/14/2023)
    05/03/2023   31   BRIEF in Support of Complaint for Replevin/Preliminary Injunction, by Plaintiff
                      David William Dacres Shaver. (angar, ) (Entered: 05/04/2023)
    05/03/2023   32   Response and Motion to Stay/Extend Termination/Order of 4.12 Pending Indented
                      Appeal Outcome, by Plaintiff David William Dacres Shaver. (Attachments: # 1
                      Certificate of Service, # 2 Exhibit, # 3 Exhibit)(angar, ) (Entered: 05/04/2023)
    05/09/2023   33   ORDER denying 32 Response and Motion to Stay/Extend Termination/Order of 4.12
                      Pending Intended Appeal Outcome. Because Plaintiff's Complaint has been dismissed
                      without prejudice for lack of subject matter jurisdiction, and because Plaintiff has not
                      filed an amended pleading by the Court's deadline, this case is terminated, by Judge
                      Nina Y. Wang on 5/9/2023. (ebuch) (Entered: 05/09/2023)
    05/09/2023   34   FINAL JUDGMENT in favor of Defendant Whittier Condominiums HOA and against
                      Plaintiff David William Dacres Shaver pursuant to 27 and 33 Orders, by Clerk on
                      5/9/2023. (ebuch) (Entered: 05/09/2023)
    05/09/2023   35   CERTIFICATE of Service by Mail by Clerk of Court re 33 Order and 34 Final
                      Judgment to David William Dacres Shaver, 1750 30th Street, #A338, Boulder, CO
                      80301. Text Only Entry (ebuch) (Entered: 05/09/2023)
    06/07/2023   36   NOTICE OF APPEAL as to 34 Judgment, 33 Order, by Plaintiff David William
                      Dacres Shaver. (trvo, ) (Entered: 06/08/2023)

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    06/08/2023   37   LETTER Transmitting Notice of Appeal to all counsel advising of the transmittal of
                      the 36 Notice of Appeal filed by David William Dacres Shaver to the U.S. Court of
                      Appeals for the Tenth Circuit. (Pro Se, Fee not paid and 1915 motion not filed)
                      (Attachments: # 1 Docket Sheet, # 2 Preliminary Record)(trvo, ) (Entered: 06/08/2023)
    06/08/2023   38   USCA Case Number 23−1197 for 36 Notice of Appeal filed by David William Dacres
                      Shaver. (trvo, ) (Entered: 06/08/2023)
    06/22/2023   39   USCA Appeal Fees received $505, receipt number 107365; Full Payment (USCA
                      Case No. 23−1197) (trvo, ) (Entered: 06/22/2023)




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  □ District Court □ Boulder County □ BoulderFederal
                                              Municipal Court

  Address:901 19th Street, Denver, CO 80294 ■
                                                     Court               FILED
                                                              UNITED STATES DISTRICT COURT
                                                                                DENVER, COLORADO
  Plaintiff:            David William Dacres Shaver                                03/13/2023
  Vs. Defendant(s):     Whittier Condominiums HOA                          JEFFREY P. COLWELL, CLERK
                        (City of Boulder has been sent Notice)
                                                                            /'! COURT USE ONLY /'!
  ‘Pro Se’Party/Not member of Colorado Bar (Name and Address): Case Number:
  David William Dacres Shaver
  1750 30th St Suite A338, Boulder CO 80301
  Phone Number: 303-351-4239 eMail:davidwshaver@yahoo.com
   Complaint for Cause of Action : Replevin [Based on JDF 116](FRCP Rule 64 &/or CRCP 104)
 This is an action to recover possession of personal property and/or damages, within the demesne of this
 court. On 10/19/21, a fire occurred at the ‘Whittier Place Condominiums’complex, located at 2301
 Pearl Street, which damaged the building(s) and Condominium #39 containing Plaintiff's property. If
 recovery can’t be affected at the Condominium, collection of replacements may be required elsewhere.
 Plaintiff believes that this Court has jurisdiction over matters herein pursuant to FRCP Rule 64 or
 C.R.S. §13-6-104(1) due in part to personal property claimed having been valued above the limit of
 lesser courts, and that this Venue is the most proper, as this Court’s authority encompasses physical per-
 sonal properties which Plaintiff seeks to retrieve (which may potentially be interstate), identified in this
 complaint, and the (potential) Defendant(s) reside within it also. Further that acts which have prevented
 Plaintiff from recovering said property, or its value, occurred therein also. Moreover that the issues
 involve interpretations of the U.S. Constitution’s 4th, 5th and 14th amendments (pursuant to 28
 U.S.C.§1331). Plaintiff thus believes this the most appropriate avenue for Complaint.
 1) A list + valuation of personal property claimed may be attached to this Action, marked “Exhibit A”.
 2) Plaintiff is the owner of the property claimed or is entitled to possession of the properties due to
 Plaintiff having legally acquired all such, storing said possessions and being the sole resident at this
 address for over 18 years now (and is willing to supply testimony under oath to that effect).
 3) The Plaintiff’s interest in such property is further evidenced by electronic and/or written instruments.
 4) Copies of varying detail intended to be provided if after passage of the supplied “Motion to Seal”
 5) Plaintiff believes his property is wrongfully being detained by the Defendant(s) against the Plaintiff’s
 claim of right to possession, and with Plaintiff’s attempts at ‘self-help’or repossession denied.
 6) The means by which the Defendant(s) came into possession of the property and the specific facts



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 constituting detention against the right of the Plaintiff(s) to possession are as follows: ‘(State ( ♦ ) the
 source of your right to the property, ( ◊) how the Defendant(s) took possession, and ( V )why you
 believe the Defendant(s) is/are wrongfully detaining the property from you)’:
  ♦ A) The vast majority of personal possessions therein were acquired by Plaintiff over his lifetime, and

     included such items as trophies won in ‘Swim Team’ or ‘Boy Scouts’or childhood, considered irre-
     placeable. Plaintiff has been the sole occupant of the Condominium for over 18 years, the property
     having originally been acquired by his Father (Marvin Dean Shaver, formerly Chief of Accounts
     Receivables of the Federal Mineral Management Service) in order to provide housing while
     Plaintiff was attending University; upon his Father’s recent death in 11/2020, this was assimilated
     into a Trust, which he was told was supposed to be converted into a separate Trust in his name.
     • Plaintiff and Trustee were recently involved in litigation primarily regarding the sale of the fami-
     ly residence [Ref: Jefferson County #21C417+21CV137 and Denver Probate: 2021PR030635], in
     which a Judge Ordered that possessions be removed from 246 Aspen Lane in Golden, which were
     moved to said Condominium. {Note: Somehow while Plaintiff was engaged in litigation with the
     Tampa Florida Trustee, ‘Members Trust Company’ in Colorado (represented by ‘Holland and Hart
     LLP’), records show the Whittier HOA was reregistered to a Florida Co. w/Tampa office (‘Sentry
     Property Management’ owned by a ‘James W. Hart’ ), apparently coinciding w/court filing dates :
     reported to Detective Sarah Cantu, 11/9/2021+, WRT Case#21-10021} [see also Moye+ Affidavit].
  ♦ B) A large additional quantity of Plaintiff’s possessions were recently moved from long term storage

     from where he grew up at his ancestral residence, 246 Aspen Lane, to 2301 Pearl #39, as a result of
     [Court Order#1 of 2021.08.02 in Denver Probate C#2021PR030635]
  ♦ C) Plaintiff was an owner of a Colorado LLC ‘Astrobyte’ which merged with an Oregon Corp

     (‘Extensis) in 1/1998, for which he received ‘merger consideration’ in the form of stock. [Instead
     of going public as originally claimed, the Oregon company merged with a series of entities, then
     effectively laundered its intellectual properties by selling them with the original Extensis name to a
     Japanese firm]. This Stock has not been saleable for anywhere near written representations




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    received as to its value (and Plaintiff’s Attorneys who originated the merger agreement have not yet
    been willing to represent him in pursuit of the matter, claiming amongst their primary consideration
    that the opposition had a larger ‘war chest’). Plaintiff and his family members have since been
    harassed for decades by agents of the Oregon Department of State Lands, who from his perspective
    appear to have effectively been attempting to extort him into what the merger agreement describes
    as an act to ‘surrender his shares’, effectively selling the stock to them for a lesser valuation than
    intended by the merger, nowhere near written representations of the value thereof received (which
    appear likely to be considered subject to confidentiality terms of the merger agreement). Both the
    Merger Agreement (paper in loose-leaf binder, likely to be water damaged), and Stock (in fireproof
    safe) are at the ‘Condominium’. Plaintiff requested an electronic copy from Plaintiff’s Attorneys,
    and eventually received a copy (which may be provided in association with ‘permissive joinder’
    motions of this complaint). Without revealing information which may qualify as confidential,
    Astrobyte was generating 7 figures in revenues prior to the merger, thus Plaintiff thinks you should
    be able to infer that the valuation of the merger consideration was supposed to be considerably
    higher than that. Plaintiff had been saving the stock as a ~‘Collectors Item’, along with other such
    stock certificates (and collectible stamps) in his fireproof safe, which, complete with provenance
    showing the value that this should have been worth, might likely alternatively someday be worth
    considerably more than the ~pittance that Oregon DSL has offered so far. Plaintiff’s mailing
    address is in a store otherwise specialising in ‘Collectible’s [Exh_C] http://www.collectons.com.

 ◊D) Shortly after 3:30AM on the night of 10/19/21, Plaintiff was ordered to immediately leave the
    apartment by a relatively short female police officer banging incessantly on the door, and blocked
    from returning by a neighbor; although fire personnel and police in the days to follow indicated that
    residents would be allowed back in within days, this never happened, and Plaintiff has since
    received refusals in response to attempted repossessions. Plaintiff would not have left in the way
    that he did (leaving even his wallet and cell phone behind) had he not been ordered to do so, as he
    had his own escape plan in place, including climbing harness and rope for orderly exit of the unit
    via the balcony with much more of his most valued possessions intact.



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 V E) Plaintiff believes that the refusals to allow access to the condominium are in violation of U.S. law
    in a number of ways, as illustrated in the accompanying filings including “BRIEF IN SUPPORT
    OF COMPLAINT/REPLEVIN OR MOTION FOR PRELIM INJUNCTION ”.
 V F) Due to the City’s enforcement, including ‘no trespassing’ signs placed around the building (with
    the city attempting to press charges for infringement when Plaintiff attempted to visit, after having
    been given assurances that the HOA would not be (reference Boulder Metro Report #:21-11210
    Complaint #:G176765), and reported support for imminent preparations to tear the complex down
    without allowing residents to recover their possessions, a ‘Notice of Claim’ has been pre-emptively
    filed (with ‘CorVel’, as requested on the bouldercolorado.gov web site) in order that they may be
    Joined if necessary also.
 V G) Plaintiff has had multiple conversations with the HOA, from within a week after the incident
    onwards, in which he expressed his opinions [Ex_F], and indicated a preference for recovery of his
    personal possessions. The HOA has by and large been unresponsive and obstructive to his efforts;
    when willing to give a response at all, they have indicated that their insurance was a major factor.
    Plaintiff has suggested means of recovery such as via rope access technicians (for which he even
    located training facilities in the area that residents might use), or via robotic means, to which the
    HOA has been unresponsive. Their insurance company eventually produced an ‘engineering
    report’ in which their own engineers expressed opposing (and self-contradictory!) opinions, appar-
    ently on the walkability of the internals of structures, which even appears to indicate that they felt
    that areas of the unit below were ‘safe’ but areas of Plaintiff’s unit directly above weren’t. [Ex_C].
    No opinions on rope access were expressed, residents were not provided with video which was
    reportedly taken of the internals of some units, and only a single ‘salvage’ company was proffered,
    which charged exorbitant rates to recover from those units apparently deemed walkable. Plaintiff
    provided AD&D insurance policy which he offered to use during self-help, but the HOA refused to
    evaluate its suitability, claiming that he would have to purchase it first (& refused to pay for that).
    Plaintiff’s Trustee also contacted HOA, who reportedly lied about providing opportunity to access.
 7) To the best of the Plaintiff(s)’ knowledge, information and belief, according to Colorado and


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     Boulder public records, the original* Defendant(s) have a residence and business address at:
     Whittier Condominiums HOA               (City of Boulder has been sent ‘Pre-emptive Notice of Claim*)
     President: Christine T Mollenkopf
     3445 CASTLE PEAK AVE, SUPERIOR, CO
 8) To the best of Plaintiff(s) knowledge, information and belief, surviving significant portions of the
 property at issue presently are located at the address: 2301 Pearl Street, #39, Boulder, CO
 9) Plaintiff(s) has made demand or request upon the Defendant(s) for return of the property or
 allowance for or facilitation of ‘self-help’ by Plaintiff or his Agents in retrieving Plaintiff’s property.
 Plaintiff(s) has not received the property from the Defendant(s), nor approval(s) to retrieve it, despite
 such demand or request and continues to be deprived of the use and enjoyment of the property.
 10) Plaintiff does not believe that the property at issue can be considered as having been taken for a tax
 assessment or a fine pursuant to statute; or seized under an execution against the property of the
 Plaintiff(s); or if so seized, it is by statute exempt from seizure.
 11) Federal or Colorado rules or law such as CRCP 104 or CRCCP 404 or FRCP 64 indicate that the
 Plaintiff(s) is entitled to an order of this Court directing the Defendant(s) to restore the Plaintiff(s) pos-
 session of the property may be seen in “Exhibit A + B”, and/or for judgment for the value of any
 irrecoverable thereof, if recovery or delivery cannot be made, and/or for any damages over detention of
 the property, and/or obstruction of Plaintiff’s ability to use ‘self-help’ to repossess it himself or via agents.
 WHEREFORE , Plaintiff(s) respectfully Prays for, and requests the following relief, God Willing:
    That the Court issue an Order to Show Cause directed to Defendant(s), if appropriate, to show cause
 why properties listed in the Action should not be obtained from Defendant(s) and delivered to Plaintiff;
    That the Court set a Show Cause Hearing within 14 days (i.e. as required by CRCP Rule 104(c) or
 CRCCP 404(c)), if appropriate, to make a preliminary determination concerning the right to possession
 of properties described in the Complaint;
    That the Court enter judgment for the Plaintiff(s) for the possession of the property listed in the
 Complaint or for the value thereof, in case delivery cannot be made, plus damages including for deten-
 tion and for any property not returned or returned in damaged condition [Writ of Assistance Attached];



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  X That the Court award the Plaintiff(s) court costs, any attorney fees, and/or appli cable quantum meruit.
  X That the Court halt issuance of permits and/or issue Preliminary Injunction(s), as necessary, to pause
                                                                                                      •
  any demolition of the containing buildin g until such time as prioritised recovery has been affected.

  :X: That the Court consider the attached Motions, i.e . for Permissive Joi nder, with/for associated filings,
  if it is assured that I) it is s ufficiently appropriate to act o n them as to not incur any attorney fee penal -

  ties upon Plaintiff, and 2) is capable of sufficiently addressing all significant issues which mi ght other-

  wi se incur 'Res Judicata' for further pursuit (and in doing so , allow ame ndation with/of those associat-

  ed ' Causes of Action ' & ' Pre-Pleadin g Me moranda ' into more detailed ones in s upport of said Causes).

  X Plaintiff prefers his persona l property to be recovered (&I special da mages in the amo unt of written
  representati o ns of the Stoc k, espec ially if that 's not recovered) & I judicially de termined damages >=$SM

  WHEREFORE , Plaintiff further Moves that, God Willing, this Court should issue any and all necessary

  orde r(s), i.e. for ' Repl evin ' and/or other Writs which may require Parties to immediately seize/facilitate

  or return possessio n of personal property to Plaintiff, and/or for any ~ Injuncti on or other actions neces-

  sary to avoid destruction of its containing building until reco very of properties or damages have been

  affected, and/or to allow Plaintiff to use 'self-help' to reco ver possessions hi'mself as al so supported by

  accompanied Memoranda , and/or for any other appropriate support of those other Motions attached ,

  and/or for such other and furthe r reli ef as the Court may deem just and proper.

  Verified Complaint, City and County of Boulder, CO: BEFORE ME personally appeared David W.
  Shaver, who , being by me first duly swo rn , executed the foregoing in my presence and stated to me that
  the facts alleged here in are true and correct according to his own personal knowledge and belief.
  Under Federal Rule of C ivil Procedure 11 , by sig ning below, I also certify to the best of my knowledge,
  informatio n, and belief that thi s complaint: (I) is not being presented for an improper purpose, such as
  to harass, cause unnecessary delay, or needlessly increase the cost of liti gation ; (2) is supported by
  existing law o r by a nonfrivolous argument for exte nding or modifying existing law ; (3) the factual
  contentions have evidentiary suppo rt or , if specifically so ide ntified , will likely have evidentiary sup-
  port after a reasonabl e opportunity for further investi gation or discovery ; and (4) the complaint other-
  wi se complies with the requir ments         ule 11 .              !"See 28 U.S.C .§ 1746; 18 U.S .C.§ 1621" 1

                                                                         My commi ssion expires9'/ r/ (Cf ,           lzP26
                                                                                              Date:         '3. r3 .2.f2.J
  Address: 1750 30th St S uite A33 8 Bo ulde r CO 803 l                                               ne:     303-35 1-4239
                                                                       AIHAM ABUHAIBA
                                                                       NOTARY PUBLIC
                                                                     STATE OF COLORADO
                                                    010             NOTARY ID 20224002733                              Page 6
                                                             MY COMMISSION EXPIRES JANUARY 19, 2026
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  □ District Court □ Boulder County □ BoulderFederal
                                              Municipal Court
                                            ■        Court               FILED
  Address:901 19th Street, Denver, CO 80294                   UNITED STATES DISTRICT COURT
                                                                               DENVER, COLORADO
  Plaintiff:             David William Dacres Shaver                              03/13/2023
                                                                           JEFFREY P. COLWELL, CLERK
  Vs. Defendant(s):      Whittier Condominiums HOA
                         (City of Boulder has been sent Notice)
                                                                             A COURT USE ONLY A
  ‘Pro Se’Party/Not member of Colorado Bar (Name and Address): Case Number:
  David William Dacres Shaver
  1750 30th St Suite A338, Boulder CO 80301
  Phone Number: 303-351-4239 eMail:davidwshaver@yahoo.com
  BRIEF IN SUPPORT OF COMPLAINT/REPLEVIN OR MOTION FOR PRELIM INJUNCTION
   Standards for judgement on this issue appear to include FRCP Rule 64, CRCP Rule 104 &| 365
                                         STATEMENT OF FACTS:
  Plaintiff believes that this brief relies upon the Verified Complaint, whose factual allegations & claim(s)
  demonstrate Plaintiff’s entitlement to injunctive relief. Other filings may include supplemental info.
  INTRODUCTION TO ISSUES:
     Issues include whether the law, including Amendments to the U.S. Constitution, support replevin
  recovery of his personal property, and/or whether the law should allow for ‘self-help’in repossession
  thereof, and/or whether a preliminary injunction should be temporarily provided to prevent the destruc-
  tion of 2301 Pearl if it should prove necessary to prevent the destruction of Plaintiff’s property:
     Historically, under English foundations of common law, a creditor was permitted to use self-help to
  recover possession of a ‘chattel’that was wrongfully detained, provided this could be accomplished
  without breaching the peace.' Blackstone's Commentaries on the Laws of England: “Recaption or
  reprisal is another species of remedy by the mere act of the party injured. This happens when any one
  hath deprived another of his property in goods or chattels personal, . . . in which case the owner of the
  goods . . . may lawfully claim and retake them wherever he happens to find them, so it be not in a
  riotous manner, or attended with a breach of the peace.”]
  [RULES]
     1) Forcible Self-help was reportedly effectively the original recourse, before Glanville’s “Tractatus
  de legibus et consuetudinibus regni Anglie” ~invented a more procedural approach to the law, including
  ‘replevin’ to recover one’s property. Plaintiff’s attempts at self-help repossession of his property have
  been repeatedly rebuffed; his suggestions of alternative methods (i.e. professional rope access techni-



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  cians, or robotic recovery) met only with silence, his requests for statutory or legal basis ignored. What
  few excuses yet given, have largely had reference to insurance policies, rather than the letter or intent
  of any law. The situation as it stands appears clearly not to be what the founders of the English legal
  system intended. Even the ‘Universal Commercial Code’ of today (i.e. CRS 4-9-629,4-9-609(2)) shows
  clear basis for the intent of self-help retaking of one’s own property, if you adopt the proper perspective
  (and some of Plaintiff’s company’s property, which he effectively lent to himself!, is on premises!).
     2) According to the United States' Constitution: The 5th Amendment holds that “no person shall be
  ... deprived of life, liberty, or property, without due process of law .... “, and the 14th Amendment says
  “no state shall ... deprive any person of life, liberty, or property, without due process of law .... “.
  Colorado’s constitution also contains a due process provision. Section 25 of Article II reads: “Due
  process of law. No person shall be deprived of life, liberty or property, without due process of law”. If
  the destruction of the property were allowed to occur before portions of this action were allowed to be
  decided on its merits, Plaintiff believes that would be a violation of due process.
     3) Further: U.S. 4th Amendment rights. Under the 4th Amendment, seizures of property must be
  reasonable under the circumstances. In Segura v. United States, 468 U.S. 796 (1984), the Supreme
  Court clarified the interpretation of the 4th Amendment, holding that the rights of owners to access
  their own property can only be delayed for the amount of time necessary to obtain any necessary war-
  rant(s) for investigation. In Chambers v Maroney, 39 U.S. 42 (1970), the Court held that the 4th
  Amendment's prohibition on unreasonable seizures applies to the seizure of property as well as to the
  seizure of persons. In U.S. v. Place, 462 U.S. 696 (1983), the Court held that seizures may become
  unreasonable because of their duration. In Nardone v United States, 308 U.S. 338 340 (1939), the Court
  held that indirectly enforcing a long-term illegal seizure of residents' property is "inconsistent with ethi-
  cal standards and destructive of personal liberty." Other applicable precedents appear to include:
  United States v. Jacobsen, 466 U.S. 109 (1984): In this case, the Supreme Court held that the 4th
  Amendment's prohibition on unreasonable searches and seizures applies to the seizure of tangible prop-
  erty, such as packages. Also, Soldal v. Cook County, 506 U.S. 56 (1992): In this case, the Supreme
  Court held that the 4th Amendment's prohibition on unreasonable seizures applies to the seizure of



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  mobile homes, & that seizure of a mobile home must be reasonable under the circumstances.
     4) Colorado Revised Statutes section (i.e. CRS § 24-10-103) lends support for a Cause of Action
  for Civil Rights violations. In this case, Plaintiff believes that his, and other residents, U.S. 4th
  Amendment rights their own property were infringed upon. His attempts to peacefully use self-help to
  recover personal possessions were even met with force. {Prec: ‘Bivens v. Six Unknown Named
  Agents of Federal Bureau of Narcotics’, 403 U.S. 388 (1971)}. This case established that individuals
  have a right to bring a federal Civil Rights action for damages against officials who have violated their
  4th Amendment rights.
     5) Plaintiff has not yet received results from requested investigations, into HOA ownership/agent
  changes*, or chemical analyses of building construction components. Plaintiff hereby formally
  requests (i.e. FRCP 33, 34, 36) Defendant(s) to provide such information. [*DNPC 21PR30635]
     6) The argument in favor of a preliminary injunction is supported by C.R.C.P Rule 365, according
  to which injunctions may be granted in Colorado counties if after: “(c)(1) (a) it clearly appears from
  specific facts shown by affidavit or by the verified complaint or by testimony that immediate and
  irreparable injury, loss, or damage will result to the plaintiff before the adverse party or the party’s
  attorney can be heard in opposition, and (b) the plaintiff or the plaintiff’s attorney certifies to the court
  in writing or on the record the efforts, if any, which have been made to give notice and the reasons sup-
  porting a claim that notice should not be required”. Further, Rathke v. MacFarlane (State of Colorado),
  648 P.2d 648 (Supreme Court of Colorado, 1982) established six factors for evaluation of injunctions
  in Colorado, which Plaintiff believes have been met <see below>.
     7) In United States v. James Daniel Good Real Property, 510 U.S. 43 (1993), the U.S. Supreme
  Court held that the government must provide an opportunity for a pre-seizure hearing for property that
  is ~ subject to forfeiture, to ensure that a resident's property rights are protected.
  [APPLICATION]
         Plaintiff is of the belief that immediate and irreparable injury, loss, or damage of the sorts out-
     lined in the complaint may result to the Plaintiff if Defendant(s) are allowed to continue in their
     course of action. Plaintiff has supplied a verified action for replevin, and evidence, which it



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     believes should satisfy Rule 365’s requirements for an injunction. We further believe that Plaintiff’s
     complaint should succeed on the merits. Moreover, Plaintiff believes that the first four factors
     requested by the precedent of Rathke v. MacFarlane have been illustrated on the Motion for
     Preliminary Injunction; the fifth factor, that “the balance of the equities favors entering an injunc-
     tion,” can most likely be shown to be met in this case by comparing the potential loss of Plaintiff’s
     property to that of the cost of delay (none of which Plaintiff believes should have been necessary if
     the City or HOA had facilitated recovery earlier). The sixth Rathke factor, “that the injunction will
     preserve the status quo pending a trial on the merits,” would clearly have been easily met if the
     City or HOA had allowed access to the property as requested, months ago. Plaintiff’s personal
     property is in jeopardy (which have received valuations in excess of the HOA’s insurance limits
     alone), and assurances of full reimbursement , even of those items deemed ‘replaceable’have not
     yet been satisfactorily provided by parties. Any samples for chemical testing of building materials
     should be acquired before demolition. Plaintiff believes that the apparent Civil Rights violations
     should also provide a basis for injunctive relief, and that issues such as these, and others outlined in
     the complaint, provide clear evidence of injustice that should be addressed before demolition may
     be allowed; further, that Defendant(s) are clearly attempting to obstruct Plaintiff’s rights under U.S.
     law, including to due process, in deciding these matters.
  [CONCLUSION]
         For reasons including the foregoing, and relying upon the Verified Complaint, and any other
     materials presented, Plaintiff believes that this Court facilitate the approval of any other Motions of
     this Complaint supported hereby, should grant the Motion for a Preliminary Injunction if necessary,
     and/or order other actions as necessary to prevent destruction of the property without allowing
     Residents to rightfully recover their property, and/or support the granting of damages as relief.
    [Plaintiff believes that time is of the essence in the Replevin Action of this Complaint, and thus has
           provided this initial brief with the intention of amending later (Rule 15) or as allowed]

  Signature of ‘Plaintiff’:                   /s/David W
                                                       m Shaver     (PRO SE)      Date:       3.13.2023

  Address: 1750 30th St Suite A338, Boulder CO 80301                              Phone:     303-351-4239



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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                   Judge Nina Y. Wang

  Civil Action No. 23-cv-00645-NYW

  DAVID WILLIAM DACRES SHAVER,

         Plaintiff,

  v.

  WHITTIER CONDOMINIUMS HOA,

         Defendant.


                                    ORDER TO SHOW CAUSE


         This matter is before the Court sua sponte. Upon review of Plaintiff’s “Complaint for

  Cause of Action : Replevin [Based on JDF 116] (FRCP Rule 64 &/or CRCP 104)” (the

  “Complaint”) [Doc. 1], the Court is not satisfied that Plaintiff has established this Court’s subject

  matter jurisdiction.

         A district court has an independent obligation to satisfy itself of its own jurisdiction. See

  City of Albuquerque v. Soto Enters., Inc., 864 F.3d 1089, 1093 (10th Cir. 2017). Accordingly, a

  court “may sua sponte raise the question of whether there is subject matter jurisdiction ‘at any

  stage in the litigation.’” 1mage Software, Inc. v. Reynolds & Reynolds Co., 459 F.3d 1044, 1048

  (10th Cir. 2006) (quoting Arbaugh v. Y & H Corp., 546 U.S. 500, 506 (2006)). A court should not

  proceed in a case unless it has first assured itself that jurisdiction exists. See Cunningham v. BHP

  Petroleum Great Britain PLC, 427 F.3d 1238, 1245 (10th Cir. 2005).

         “The party invoking federal jurisdiction bears the burden of establishing such jurisdiction

  as a threshold matter.” Radil v. Sanborn W. Camps, Inc., 384 F.3d 1220, 1224 (10th Cir. 2004).



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  Plaintiff states that this Court has jurisdiction over this case “pursuant to FRCP 64 or C.R.S. § 13-

  6-104(1) due in part to personal property claimed having been valued above the limit of lesser

  courts.” [Doc. 1 at 1]. 1 He also states that the Court has jurisdiction pursuant to 28 U.S.C. § 1331

  because “the issues involve interpretations of U.S. Constitution’s 4th, 5th, and 14th amendments.”

  [Id.]. 2

             “Under the longstanding well-pleaded complaint rule . . . a suit arises under federal law

  only when the plaintiff’s statement of his own cause of action shows that it is based upon federal

  law.” Vaden v. Discover Bank, 556 U.S. 49, 60 (2009) (quotation omitted); see also Nicodemus

  v. Union Pac. Corp., 318 F.3d 1231, 1235 (10th Cir. 2003) (“A case arises under federal law if

  [the] well-pleaded complaint establishes either that federal law creates the cause of action or that

  the plaintiff’s right to relief necessarily depends on resolution of a substantial question of federal

  law.”). It “takes more than a federal element to open the ‘arising under’ door” of § 1331. Empire

  Healthchoice Assurance, Inc. v McVeigh, 547 U.S. 677, 701 (2006). “[T]he Court must analyze

  the complaint to determine whether it is based on federal law.” Gwilt v. Harvard Square Ret. &

  Assisted Living, 537 F. Supp. 3d 1231, 1237 (D. Colo. 2021). But in so doing, the Court ignores

  mere conclusory allegations of jurisdiction. Penteco Corp. P'ship--1985A v. Union Gas Sys., Inc.,

  929 F.2d 1519, 1521 (10th Cir. 1991).




  1
    Because Plaintiff proceeds pro se, the Court thus affords his papers and filings a liberal
  construction. Haines v. Kerner, 404 U.S. 519, 520-21 (1972). But the Court cannot and does not
  act as his advocate, Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991), and applies the same
  procedural rules and substantive law to Plaintiff as to a represented party. See Murray v. City of
  Tahlequah, 312 F.3d 1196, 1199 n.2 (10th Cir. 2008); Dodson v. Bd. of Cnty. Comm’rs, 878 F.
  Supp. 2d 1227, 1236 (D. Colo. 2012).
  2
   Plaintiff does not assert that this Court has diversity jurisdiction under 28 U.S.C. § 1332. See
  generally [Doc. 1].

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         The Complaint states that “[t]his is an action to recover possession of personal property

  and/or damages.” [Doc. 1 at 1]. It further alleges that on October 19, 2021, a fire occurred at the

  Whittier Place Condominiums complex and caused damaged Condominium #39, which contains

  Plaintiff’s property. [Id.]. Plaintiff alleges that Defendant is wrongfully detaining his personal

  property “against the Plaintiff’s claim of right to possession,” [id.], and that Defendant has been

  “unresponsive and obstructive” in Plaintiff’s efforts to re-obtain his property. [Id. at 4]. Plaintiff

  claims that “the refusals to allow [him] access to the condominium are in violation of U.S. law in

  a number of ways.” [Id.]. Plaintiff seeks the following relief: (1) a Court order directing Defendant

  to show cause why Plaintiff’s property should not be obtained from Defendant and delivered to

  Plaintiff; (2) that the Court set a show-cause hearing “to make a preliminary determination

  concerning the right to possession of properties described in the Complaint”; (3) judgment in his

  favor “for the possession of the property,” and (4) costs and attorney’s fees. [Id. at 5–6].

         Upon review of the Complaint, the Court cannot conclude that the allegations are sufficient

  to establish the Court’s jurisdiction under 28 U.S.C. § 1331. Notably, Plaintiff does not plainly or

  plausibly allege that Defendants violated any federal law, see generally [id.], and a number of

  courts have concluded that replevin actions do not, on their face, present a basis for federal question

  jurisdiction. See, e.g., Stieber v. Rafnar, No. C09-0676-JCC, 2009 WL 10676363, at *3 n.3 (W.D.

  Wash. June 26, 2009); Clark v. Ford Motor Credit Co., LLC, No. 13-cv-4242, 2013 WL 5524104,

  at *1 (E.D.N.Y. Oct. 4, 2013); Wells Fargo Bank, N.A. v. C.J.B. Holding & Tr. Co., LLC, No.

  2:17-cv-1446, 2017 WL 4541375, at *2 (D.S.C. Oct. 10, 2017). And Rule 64 of the Federal Rules

  of Civil Procedure does not “extend no limit the subject matter jurisdiction of the United States

  district courts.” S.E.C. v. Antar, 120 F. Supp. 2d 431, 439 (D.N.J. 2000), aff’d, 44 F. App’x 548

  (3d Cir. 2002).



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          While Plaintiff directs the Court to a “Brief in Support of Complaint/Replevin or Motion

  for Prelim [sic] Injunction,” see [Doc. 9], which asserts that, inter alia, “Plaintiff believes that his

  . . . U.S. 4th Amendment rights [to his] own property were infringed upon,” [id. at 3], Plaintiff

  does not allege that Defendant is a government actor, and it does not appear plainly on the face of

  the Complaint that it is. See United States v. Smythe, 84 F.3d 1240, 1242 (10th Cir. 1996) (“The

  Fourth Amendment protects citizens from unreasonable searches and seizures by government

  actors. However, Fourth Amendment protection against unreasonable searches and seizures is

  wholly inapplicable to a search or seizure, even an unreasonable one, effected by a private

  individual not acting as an agent of the Government or with the participation or knowledge of any

  governmental official.”) (emphasis added). And although Plaintiff states that the issues in this

  case “involve” interpretation of the Fourth, Fifth, and Fourteenth Amendments, see [Doc. 1 at 1],

  this is insufficient to establish federal subject matter jurisdiction in this case. See Haywood v.

  Kansas, No. 21-2329-JWB, 2022 WL 4743215, at *3 (D. Kan. Oct. 3, 2022) (“[B]road assertions

  and conclusory references to federal laws are not sufficient to create subject-matter jurisdiction

  over this lawsuit.”); Blume v. Los Angeles Superior Cts., 731 F. App’x 829, 830 (10th Cir. 2018)

  (“[U]ndeveloped assertions,” such as listing federal laws or constitutional provisions, “are

  insufficient to establish a colorable claim arising under federal law.”).

          However, although “the mere presence of a federal issue in a state cause of action does not

  automatically confer federal-question jurisdiction,” Becker v. Ute Indian Tribe of the Uintah &

  Ouray Rsrv., 770 F.3d 944, 947 (10th Cir. 2014), state law claims that raise a substantial question

  of federal law may be sufficient to establish federal question jurisdiction. Grable & Sons Metal

  Prod., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 312 (2005). “To invoke this so-called

  ‘substantial question’ branch of federal question jurisdiction,” the party invoking a federal court’s



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  jurisdiction must establish that “a federal issue is: (1) necessarily raised, (2) actually disputed,

  (3) substantial, and (4) capable of resolution in federal court without disrupting the federal-state

  balance approved by Congress.” Becker, 770 F.3d at 947 (quoting Gunn v. Minton, 568 U.S. 251,

  258 (2013)). This “substantial question” branch of cases has “narrow boundaries,” id., and

  encompasses only a “special and small category” of cases. Gunn, 568 U.S. at 258 (emphasis

  added). Plaintiff does not address any of these factors in his Complaint or Brief in Support, see

  [Doc. 1; Doc. 9], and the Court cannot construct arguments on Plaintiff’s behalf. Hall, 935 F.3d

  at 1110; Lebahn v. Owens, 813 F.3d 1300, 1308 (10th Cir. 2016).

         In sum, the allegations in the Complaint are presently insufficient for the Court to conclude

  that it has subject matter jurisdiction over this case. Accordingly, it is ORDERED that:

         (1)     Plaintiff shall SHOW CAUSE, in writing, on or before March 31, 2023, why this

                 case should not be dismissed without prejudice for lack of federal subject matter

                 jurisdiction; and

         (2)     A copy of this Order shall be sent to:

                         David William Dacres Shaver
                         1750 30th Street
                         #A338
                         Boulder, CO 80301


  DATED: March 14, 2023                                   BY THE COURT:



                                                          _______________________
                                                          Nina Y. Wang
                                                          United States District Judge




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      Plaintiff's Exhibit C

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 [Even ‘WJE’ supplied assessment is self-contradictory , claiming accessible areas in unit 34 below,
                                                                                            B-EOROOM

but same area immediately above, in unit 39 without roof damage, somehow claimed inaccessible!?]
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         Subject: Whittier Apartments : Access to Unit(s)?
         From: David Shaver <davidwshaver@yahoo.com>
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         Date: 10/25/21, 2:10 PM                                      UNITED STATES DISTRICT COURT
         To: "rachel@boulderhoa.com" <rachel@boulderhoa.com>               DENVER, COLORADO
         Message-ID: <301363355.617031.1635192657520@mail.yahoo.com>          03/14/2023
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         Content-Type: text/plain; charset=UTF-8
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         References: <301363355.617031.1635192657520.ref@mail.yahoo.com>
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          I was ordered to leave, by an officer outside my door, before I could pick up certain items
         from the apartment, during the fire on the 19th. The police department had originally told me
         that they would allow residents access {first saying within 7 hours to a day, then within two
         days}, but now tells me that BoulderHOA is the one coordinating access (?).

          The unit I was in, #39, appears to have largely suffered roof damage. The items that I would
         be interested in near term retrieval (including my wallet, and phone) were located in a
         relatively undamaged section (likely accessible via reaching in the side window, or more likely
         via the balcony).

         https://x-in-g.com/Secure/Unit39/
         - - -- - ---- --- ----------

          As a graduate Engineer, having seen extensive overhead video of the damage, and with what
         mountaineering experience I have, having hiked most of the "14'ers" in colorado (I even left
         climbing equipment in the unit, in case I had to escape via the balcony! - which in hindsight I
         probably should've done to retain more of my possessions, not knowing it would take this long), I
         think I would feel relatively comfortable visiting it in its current condition (and would be
         quite willing to provide an indemnification or waiver to that effect).

          I pray to God that any residents with any reasonably intact structures are able to obtain
         access to contents within our units relatively soon!

         David William Dacres Shaver




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         http://computacor.com/GraphicalResumeWithFeedback/GraphicalResumeWithFeedback.html                                                      Plaintiff's Exhibit G
                  Appellate Case: 23-1197                                      Document: 010110886277                                       FILED
                                                                                                                                   Date Filed: 07/12/2023 Page: 24
                                                                                                                                UNITED STATES DISTRICT COURT
                                                                                   DENVER, COLORADO
                                                       Autobio * Graphical Resume of:
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           .,                                                                                                                       JEFFREY P. COLWELL, CLERK
                                       303-351-4239 * 1750 30th St Suite A 338, Boulder, CO 80301 * IT@COMPUTACOR.COM
           .,
           .,
                                                        [with the intent of continuing, and currently exploring seeking new opportunities!]...
           .,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,
                       Owner/Engineer/Manager/Consultant at COMPUTACOR : 3/1999 to present
         9 .,~                                                                                                                                                             e,- -~ ~
                       * Software Development, Systems Administration, Database Administration exercises and server
                       maintenance * Travelled broadly, acquiring direct, intensive, immersive, low latency familiarization with
           .,
                       cultures of, and requirements for day to day living in, over two dozen countries (with a policy of spending at
           .,
                       least a month in each, including those whose flags are arrayed on the globe following), visiting places which
           .,
                       influenced my life, profession, or that of my ancestors (and encouraging the adoption of technology,
           .,
                       computing & the internet) * Company maintenance & registered office duties * Installed, configured, and
           .,
           .,          investigated multiple operating system architectures (Linux [Debian, Ubuntu, Mandriva, SUSE, Knoppix,
                       Morphix, etc], DragonFly, OS X, Windows XP&7), many development and/or scripting environments
                       (including CUDA, OpenCL, XCode, Eclipse, Embarcadero variants, OpenWatcom, Unity3D+'Unreal Engine',
           .,
                       etc)) * Investigation and research of topics in health, nutrition and related biochemistry, genetics+genealogy,
           .,
                       intellectual property, parallel processing, artificial intelligence, financial engineering, sales, negotiation,
           .,
                       interpersonal interaction, government and management, quality and validation, initial forays into
           .,
           .,          electrodynamics, orbital mechanics, energy sources * Hardware and embedded            Text
                                                                                                               development, from the
                                                                                                                                                      '~
                       construction of specialized hybrid compute servers with GPUs using components available to the consumer
           .,
           .,          to exploration of MSP430/firmware devices * Stock market research and investment * Etc.
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                       Founding Manager, Restoration Engineer, Contractor Management, Procurement, Security at D'Aker Holdings : 1/1994 to present
                       (Renamed)
         9 ~
                       I initiated, and voiced strong preferences in favor of choosing to purchase the Huddart Terrace building, with 7500 square feet of space
           .,
           .,          including the basement (which turned out to have been designed by a notable English architect) with potential expansion of our servers, and
           .,          the available power being key considerations; I then participated in the managing of, updating, refurbishing, refinishing and/or rebuilding of
                       parts of it, including roofing, carpeting, painting, network wiring, lighting, and other construction * Participation in obtaining Denver Landmark
                       status, and environmental survey, plus water tests for it * Researched, procured, designed, supervised the installation of, and maintained a
           .,
                       security system including key code entry and proximity cards * Installation of relatively high bandwidth T1 line & router, in temperature
           .,
                       controlled server environment which included remote power control * Designed our own lighting fixtures and specced colors to save costs and
           .,
                       provide optimum indirect light * Interacted with tenants and government entities * Our interstate merger, coupled with the leasing agents'
           .,
                       (associated with one original partner) apparent inability to increase tenant occupancy led to the sale of that building * This company was also
           .,
           .,          involved with the provisioning and procurement of lofts in the IceHouse (though we had to bail on one of them after they first neglected to put
           .,          in the architectural mods and custom tub that I had asked for [later rectified : I was told that my design for network topology influenced later
                       units], and subsequently announced that they were going to build an elevated parking structure right outside of the deck, and my girlfriend
                       Molly Gibson (whose mother was a prominent Denver realtor, and apparently didn't like the Icehouse in general), both naysaid the deal; we
           .,
                       were further glad that our realtor, Jan Nelsen at Devonshire Realty, somehow apparently managed to pull off a simultaneous closing to sell the
           .,
                       other one at a profit [after fixing the contradictory plumbing & other quality issues that we pointed out] when we were required to move out of
           .,
                       state for our merger {though when I looked for record of it in the deed history, I didn't find it!?}) * Further continued property investment &
           .,
                       research, including tax certificates and auctions * Etc. * Also serving in roles: Electrician (designer), Alarm Response Mediator, Landlord, ...
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           ., ., ., ., ., ., ., ., ., ., ., ., ., .,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,
                       Original Founder/Owner/Engineer/Manager/Consultant at AstroByte™ : 1/1994 to 3/1999 (Renamed. Mergers w/entities starting in 1/98)
                           We began with the intent of focusing on things other than print publishing, and initially approached a number of game development houses with the


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                           concept of providing a scriptable animation system for the internet, as well as a real time 3D game engine environment (neither of which seemed to
                        I
                           receive a great deal of interest or financial support at the time, though it turns out that some may have been developing their own). Along the way to
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           .,          0,-:,
                           developing our own products, we also performed custom development for various entities [including enhancing my own work at Quark in exchange
                           for a developer kit, developing system level screen capture utilities (Nintendo,Sega / quasi modular, with potential for significant expansion) for Leland
           .,          ::=
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                       CC>
                           in the hopes that we'd be able to obtain some sort of stock participation in their imminent big merger deal with Midway/WMS/Bally (however the guy
           .,
                           we were working with, Michael Abbott, became somewhat standoffish immediately after he accepted the work product, and we pretty much lost
                       --
                           contact with him; in later discussions with his cohorts, apparently he somehow had neglected to inform them that we had developed it for them!?),
                       ,__
                       ......
           .,.,
                       went on to perform very significantly performance enhanced scripting support capabilities for Apple, a template driven Gateway / 'Visual Rainman' for
                       AOL's internal layout format (however, instead of allowing us to upgrade their technology, apparently all they wanted was what I felt was a relatively
           .,
                       goofy template export utility (I found out later that the guy we were working with, who was evaluating our technology, Brad Zions, Director, AOL
           .,
                       International, was apparently educated as a Biologist!), so we went on to help invent the internet instead!; I further performed unfinanced consulting for
           .,
                       my girlfriends's high end audio company 'Fidelity Communications'].
           .,
                                                                                                                                                                                                    BeyondPress
           .,
                                Member of a team which developed BeyondPress (multiple versions), the first WYSIWYG web authoring and repurposing tool for professional                              (v1-4)
           .,
                                  magazines and newspapers / &LL3pFwk.v3+.* Code: graphics/image/editing+layout * Org&C+CGI's * Scripts * Contract development &
           .,
                                  consulting.* Database design, development, management+implementation, &publishing (all Web+SQL). * Systems+Database administration *
           .,
                                  Development 3D game engine (which I developed the real time assembly texture mapping, depth shading for), a version provided to Apple for
           .,
                                  shipment with OpenDoc distributions which allowed for multiple nested parts, before we became aware of QuickDraw 3D, more than one year
           .,                                                                                                                                     • Ot!!!@
                                  before its release {and 20 years before Apple's 'Metal' API}.* Purchasing * Travel: some shows, intl. dists               .. * Negotiation/Inv^A * A
           .,
                                  bunch of other stuff. * Architected & managed the implementation of a web based shopping cart style system incorporating order entry, distributor
           .,
           .,                     handling, product fulfillment, user registrations, user news mailings, and protected support areas; Later extended to 'XTSource' including third
           .,                     party product sales, initially asking relatively low 25% margins. * Designed and implemented serialization and network copy protection. * Managed
                                  servers (Mac, NT; DNS / BIND, DHCP, HTTP, FTP, SMTP, SQL, etc) and procured T1/ISDN internet access and provisioning, DNS/domain
                                  registration, router maintenance, and access; initially also installed software & fonts, occasionally handled difficult tech support questions, etc. *
           .,
                                  Obtained shared company membership(s) in a local fitness club. * Attended trade shows, performed purchasing [including equipment and
           .,
                                  software], visited overseas distributors, and oversaw / negotiated contracts for distribution, consultation, and mergers, etc. * Assisted in starting a
           .,
                                  European branch (Astrobyte Europe, LTD), and associated banking and other activity.* Reviewed / proofread documentation. We later also
           .,
                                                                                                                                                                                                   []
                                  developed a specialized variation of BeyondPress customized for Koyosha in the Japanese market, etc.
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           .,
                       Starting with 3-4 founders, [I had first come up with the name Acrobyte, influenced by my mother's reportedly ancestral D'acre family origins, but we were
           .,
                       prompted at one point to rename, by another company (who I may not be allowed to name), which apparently considered that ours was too similar to one
           .,
                                                                                                                                                                                                     CyberPress
                       of their product identities] we eventually had up to a dozen employees, full and part time, several which were engineers, reporting to me in certain                         (via Extensis)
           .,
                       capacities, before merger.
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           .,                                                                                                       SINM
                                Custom development or involvement: Quark              Leland   (later Midway, now           ) Masque®         Apple        AOL       Koyosha       Extensis
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                                                                                       Metrowerks      Test Site


              [Astrobyte spoke of mergers/sales, first w/Quark (who did not make us what our books said would be an offer in the very reasonable range for a
              profitable company of our sales level, or a few other ways we attempted to value things, and did not appear to be willing to offer us anything above a 5%
              royalty rate, if at all), then Extensis (whose offer looked much fairer given our revenues, which were just reaching the seven figure mark even without our
              soon to be released Windows version)] : Extensis' financiers were Hambrecht and Quist, (who, research later shows, also worked with Apple, Netscape,
              Amazon, Adobe, Google, AutoDesk, and the less fortunate CP/M)[+KPMG]. We were required to move to Oregon as a condition of the agreement
              (despite my protests to the contrary), though I can count on one hand the number of times those we had dealt with actually visited my office after I moved
              out there. They wrote that merger stock consideration should be worth over $10 a share at IPO within several months (even without the merger, claiming
              a 100M+ IPO valuation) and at over $25 a share within a few years. Although market trends remained similar, our engineering team ended up being cut
              in more than half from expectations given, and, claiming that this would better enable the goals of the merger to be met, founders were divided, with one
              going into management, two others told to work in engineering positions (refusing to make my suggested offer and incentives to our MSWindows
              specialist {instead paying us more per hour to do his work}). Despite having to manage engineering and QA their way [we had been testing using our
              entire engineering team & technical support in off hours, while they used a single full time individual without an engineering education who had worked
              for competing companies], which didn't appear to enhance overall efficiency, time to market, or product quality (instead of using engineers in their off
              hours, they had a single specialist, who I think had conflicts of interest, having worked at competing companies in the past), we completed a new version
              of "BeyondPress" w/DHTML+CSS and produced a wholly new MSWindows version, the size+~complexity of QuarkXPress, within the year. Strategic
              concepts and scenarios that I provided prior to merger weren't adopted, contrary to upfront agreement provided by senior management, and despite my
              own later reiterations (instead cannibalizing our resources to feed alternates which appeared to me incapable of generating the revenue to justify their
              claimed valuation). [Contradictatorial] Management generally appeared to be unable or unwilling to adhere to many goals set, or agreements made,
              entirely (employing only founding Astrobyte employees by the end of the first year, and even terminating my employment from my own, albeit merged
              company, at about that time (following actions by a colleague who had previously been employed by one of our competitors, and further admitting that at
              least one of my partners had backed them in their decision!), claiming that they didn't think I was happy there, despite their original claims of retaining all
              essential personnel, & destroying our relatively lucrative Japanese product guarantees (enough to cover our salaries), cancelled without soliciting my
              input or even inviting me to the meetings, and apparently without anything to replace them with). Coupled with requiring replacement of our serialization
              & removal of our own copy protection, these apparently diminished sales. They also did things like asking me to disable the network copy protection on
              our QuarkXPress products, and assigning myself and another ex Quark employee copies with the same serial number. Quark later announced that they
              would be developing some level of their own HTML export capabilities, despite their apparent lack of interest in negotiations with us, which had
              reportedly taken into account the results of polls of their 'service plus' customers. Meetings often had more managers than people doing things. We also
              found out that Adobe had decided to hire senior personnel from Quark, and then later from Extensis, even though they were (minority~=10%)                                    '3DWorld' optimized
                                                                                                                                                                                            for 68K &PowerPC
              stockholders and reportedly on the board (which had given a valuation for our merger which was never met). Extensis' IPO never occurred (nor did there                        (shown on G4 1.25
              appear to be much sincere effort to prepare for one); instead, a belated merger with ImageX [WA] and who later research indicates had some                                    @1695 frames per
              management from Quark's competitors, although that may be a coincidence influenced by the state that they were in, and even West Point alumni. I                                   second!)
              attempted to call senior management once, but they didn't return my call), continuing to reduce both valuation (with the stock price plummeting rapidly to
              <1% of their claims to us), and their XTension products [Multiple employees incl. engineers=>Adobe (although they were a minority stockholder
              apparently with board representation, they began hiring engineers away even while leaders were still claiming to be attempting to go public!), later Apple,
              mergers/assets => ImageX => Kinkos => Fedex => Celartem(!?) of Japan].


              Software Engineer, Founder, Consultant at Software Forge : 1990 to 1998


                  I voluntarily originated, and developed what became the Macintosh version of the 'Intermission' Screen Saver
                     engine (making it the first cross platform screen saver package), influenced by a colleague's creation of a
                     shareware screen package that had derived from my prior work in drivers, including sound and UI API's [in C,
                     and hand optimized assembly language], system level trap patching, system level security, multitasking,
                     supporting multiple modules + monitors, and other modules, and ported (mostly) / rewrote (some) [and
                     debugged! (occasionally)] associated Windows based sprite and compression engines. My original stated
                     preference for a minimum percentage of gross revenues was not implemented. Originally also used as a test
                     vehicle for experimental exercises of our engineering skills, after the Canadian Delrina corporation took it
                     over, it was primarily used for animated cartoon packages. They further also required me to assist them in
                     degrading the quality of the product graphics, despite my stated preferences to the contrary, and I was even
                     asked to teach the new management (Todd Gilbertsen; also dealing with Jack Brummet/QA) how to use their               Intermission     Opus 'n Bill             Dilbert           The Far Side
                     own product, TMON. Also used in (~)'Opus & Bill', The Far Side, Flintstones, Dilbert Screen Saver                   (Original: ICOM) [Gates] (Original)
                     Collection(s)", (*)'Star Wars Screen Entertainment', [In association with {Ant Software} + {(ICOM[WA]=>
                     ((~)Amaze[WA] + Delrina[CN])=>Viacom & ((*)LucasArts + Presage[CA]))=>Symantec[OR], etc.} & including
                     direct contact/involvement with most at times : I was flown to Seattle and California]. Members of ICOM(+)
                     later went on to work on MS/DirectX+sound,QuickTime. I was never approached for a PPC version (though if
                     royalties are any indication, the 68k versions weren't especially profitable anyhow, never nearing hype; at
                     least it managed to pay for the equipment used to develop on, if not pay for PPC hardware to develop further
                     revisions with! {probably would've had to renegotiate given the discrepancies between their claims and
                     financial reality}), and it was (much) later indicated that Symantec had simply decided to discontinue {"kill"}
                     the product line, post merger, without involving me {%}. Although I had been led to believe that I would
                     receive royalties for all subsequent Mac products using the sprite package, Anthony Andersen at Ant
                     Software instead reportedly switched to Microsoft's emulation libraries as soon as they became available, and
                     later was effectively absorbed into Masque apparently as a stockless employee, indicating that they're not
                     using the sprite library anymore anyhow. Amaze personnel left Symantec and reformed as Amaze
                     Entertainment, which sources indicate used the same logo [assets=>F9=>GLU Mobile], again providing
                     entertainment software, though I haven't yet been approached for any code licenses ;-?.
                  Developed / ported the Macintosh version of Solitaire Antics(TM) (based on same engines, also used in other            Intermission
                                                                                                                                         (Later: Delrina)
                                                                                                                                                            Opus 'n Bill (After Star Wars Screen
                                                                                                                                                            Toaster Lawsuit)      Entertainment
                                                                                                                                                                                                       Flintstones
                     products | games, such as, reportedly, 'Shadows of Cairn', 'Craps' [WSOP]...) * Adapted & maintained third
                     party installer. * Rewrote my 68k sprite assembly code in C for PowerPC adaptation & merged with cross
                     platform capabilities into Windows code base {%} [In association with {Ant Software} + {Masque}}[CO]] * {{%}
                     Royalty payments stopped shortly thereafter...} * etc.
                  AKA 'ScreenPeace', (~)later 'Intermission' was used to make fun of Bill Gates (subsequently, though it may be
                     coincidental, screen savers were shortly afterwards added to the OS) & to depict a penguin w/shotgun
                     shooting down (lawsuit provoking) toasters.
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                     Custom development or involvement with: Ant Software   ICOM    Delrina         ~Amaze         LucasArts™



              QA/Tech Support/Software Engineer/Senior Software Engineer at Quark : 5/1987 to 1/1994 (Renamed)

                 (Primarily in Research and Development for 'QuarkXPress'(TM) Mac and code derivatives / QPS)

                  Designed/architected and led the development of the scripting system + testing scripts & support / OSA. * etc.
                  Taught workshops: color overlap control (to customers), scripting, low level software debugging (internally).
                  Network communication (+asynchronous, realtime during interrupt; used as basis for 'QPS'(TM))(+).
                  Scanner software (+GPIB) & compression of files * Auto-save / backup * 'Intelligent' text scrolling.
                     (Development for the very first slide scanner, Barneyscan, which also launched "Adobe Photoshop").
                  Floating palette layer management system & miniature graphics * Window tiling, stacking.
                  Development on the very first XTensions (hyphenation), adding the ability to have User Interfaces at all.



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                                                                                                                                                                                                            QuarkXPress
                    Printing : Overlap adjustment system + UI & font gen., blends, formulas, Color Compensation/Dot Gain UI.                                                                             (v1-3.2) QPS,
                                                                                                                                                                                                           CopyDesk, etc.
                                                                                                                                        8~
                    QA+customer+educational+technical support, including some conferences/trade shows & travel.
                    Parsing dictionaries, and compiling mathematical formula descriptions + wysiwyg editing UIs.
                      {Teaching myself Macintosh programming was initiated & required in order to get to R&D from the filing, courier, warehouse and technical support
                      duties to which I was originally assigned [even though I had applied to a job advertisement seeking 'Programmers', they apparently thought that I
                      needed to prove computation and/or Turing's theory of completeness by demonstrating my skills still worked in the latest fashion in languages; I
                      purchased my own compiler and system reference manuals to do so]. I helped the Tech support Manager to write the configuration / installation utility
                      in while attempting to migrate to the software development team. Originated the dictionary editor, network communications, palettes+handling, and
                      misc. items myself; other items were designed and developed upon some assignation and directive}. Contributions to portions of features or team
                      reworkings in other areas of the product, such as nonsimple polygons, drag and drop text, text obstruction runaround, many optimizations and bug
                      fixes (also demonstrated real time transformation of 3D spline objects to management in 1989). mathematical formula layout code incorporated
                      multiple nested palettes with quantities of formula types, also allowing for extensive table creation and nesting, along with other extended layout
                      features. I was also asked to design and develop network code to allow for serialized copy protection (which I was told resulted in very significantly




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                      increased sales {including those generated by an "amnesty" program}) further adapting that to support network communcations (tested by
                      transferring document contents between engineer's copies of the product), and to maintain the code for the third party disk based copy protection.
                      Alas, repeated representations made that engineers would share in the financial success or sale of the company (and someone else has told me
                      stock) never really appeared to materialize out significantly, despite over an order of magnitude increase in employees. Intimations that we should
                      work yet harder (over 100 hours a week at times!) apparently in order that more there might be more profit to be shareable appeared to be met by
                      the american public buying up our competitors shares (in addition to competitors and the operating system vendors notably assimilating features
                      outright!) seemingly in order that there might be an even horse race or something. They also appeared to me to have a strange propensity to put
                      people of lesser technical talent in charge of things. They seemed to prefer that we put anything outstanding 'under the hood' so that third party
                      XTension developers could take advantage of them, rather than shipping them in the main product. Prior employees there had led me to believe that
                      their relatively low compensation was as a result of their failed QC10 hard drive product, yet the company's success appeared to lead to the
                      company founder buying up properties in England, worshipping a statue of Darth Vader in his office and even speaking of eliminating profit sharing
                      instead. After working there for several years, and despite the fact that I had told them that I thought they should be paying better, I was still making
                      less financially per hour than I had when consulting in my teens (nor relative to the difficulty of getting into engineering school either, though at least
                      they covered the cost of computer hardware used!), and the non financial incentives, most especially the learning involved, were no longer
                      enchanting in the same manner either (in addition to the apparently failed attempt to sell out to Claris, the strange issues with Broderbund's 'Zeus',
                      de-emphasising Macintosh Development {particularly given that I am descended from the Macintosh clan of Scotland}, reneging on their grants to put
                      our names in the manual (after version 2, without letting us know in advance, after working on the next version for over a year; it was indicated to me
                      at the time that this was because they didn't want their engineers hired away, so after others requested it, I put copies of individual developer's
                      images in an easter egg in the about box {which were apparently largely removed by the very next minor revision after we had left!, though later
                      versions showed images of turbaned people of India in our places}), and the repeated indications that our jobs might be outsourced overseas). The
                      product was popularly considered the foremost desktop publishing application at the time. After completing the scripting capabilities (which supports
                      any OSA compatible scripting language, currently including Ruby, Perl, JavaScript, and a number of others, the stand alone code segments for which



                                                                                                                                                                                                           ~
                      themselves, upon completion, comprising nearly 20% of the object size of the product, having developed the vast majority of this at the time myself),
                      and given further circumstances including Quark's apparent lack of value for my work, Apple's decision to transition to the PPC, as well as the
                      departure of Apple's scripting team, I thought and felt that an exit would be prudent. The first phone list that I saw had an employee count in the 30's,
                      (only about a dozen employees when I started, with 5 engineers {one part time} when I began developing) the last well over 400; in the neighborhood
                      of 10-15% engineers, on few different teams and platforms, with a shared code base, reportedly around an order of magnitude more employees after
                      company properties were relocated to Persian areas (I'm told that they decided to relocate development to historically Persian areas of India after an
                      entire team apparently failed to effectively reproduce web page exporting capabilities {which we had offered to provide them in the above Astrobyte
                      merger : they have further even copied our marketing slogan printed on our t-shirts "reinvent your content" outright!}, plus the original founder sold
                      out, and the entire remaining Macintosh team was reportedly subsequently terminated). Reports after 'Platinum Equity' buyout indicate that
                      QuarkXPress alone has eventually obtained an installed base of over 3 million units, up to 9 revisions, billions in revenues.
                                                                         ~
                         Custom development or involvement with: Apple       National Instruments                    Barneyscan           Metrowerks   Test Site (Indirectly: Linotronic
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               Enrollment in the     University of Colorado's engineering program appeared likely to alleviate some of the concerns that potential customers without the
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               capability to evaluate my skills themselves had raised (though in subsequent experience I have found that if I only bring the education up when asked, it
               appears that the concern can be an excuse on the part of the customer, and it hasn't seemed to help much). Coursework ranged from General Core


          e
               Engineering (Physics, Maths [including Probability+Statistics, Linear Algebra, Calculus I-III, Numerical Analysis, DiffEQ]), Electrical and Computer
               Engineering (Theoretical Foundations of Science, Compiler Design, System Design, Artificial Intelligence (+senior project : ORAMA [Operating Room


                                                                                                                                                                                                           ®J
               Anaesthesiology Operating Assistant : AI / 'Expert System']), (Massively) Parallel Processing, Circuits), M.E.: Graphics, Speechmaking... (Metro State U :
               General Chemistry, Weight Training, IT/Unix +CS (Algorithm Analysis, Systems), finance, ...). My assigned dorm mate when I first started attending CU
               Boulder was Joe Schaak.
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                Consultant/Founder/CTO Self Employed => Moebius Computer Consulting (AKA Mobius Software): 1980 to 1987
          e
                    Originated a low level WYSIWYG Sector Editor, inc. VTOC {Entirely in 6502 assembly}.
                    Whole Disk Compression [Awarded. 6502] *Graphic Editing, Sprites * Negotiated Consulting Contracts.




                                                                                                                                                                                         ■
                    Wrote/Adapted Bulletin Board Software (including 6502 assembly level Serial Interrupt Drivers).
                    Driving of modems with scripted commands *Utilities for Telecommunications, Drives, Graphics, WP..                                                                   Sector Editor       Drive Copier
                                                                                                                                                                                   ;;;
                       An uncle, alum of the South African military, prequalified clients at a local community college:                                                            C')
                                                                                                                                                                                  iii'
                    Development of a Statistical Analysis program, intrinsic to a Doctoral Candidate's Thesis.                                                                   0
                       [Each time he brought it back for upgrades, he had replaced my name in the comments with his]
                    Designed a Database System, used in contract for Real Estate Multi-Listings {CP/M : TP : Z80}.
                       [Alas, the monopolistic multi listings service of the day apparently wasn't conducive to full payment]



                                                                                                                                                                                   ■II!
                    Developed Student Grade Tracking + Sorting DBMS, later associated Dial Up Telecom BBS version.
                                    ---- ---- ---------                                                                                                                            a>
                                                                                                                                                                                   <
                      Incidental lessons learned included strategies for coping with clients who repeatedly changed their specifications mid-stream, made
                      partial payments, or didn't pay at all, who repeatedly took credit for my work, or threatened use of lower cost competitors for upgraded                               Student            Multiple
                                                                                                                                                                                 g._
                                                                                                                                                                                            Grading &          Choice Test
                                                                                                                                                                                 =-
                      versions.                                                                                                                                                             Handicap           Generator
                                                                                                                                                                                             Profiling
                                                                                                                                                                                   ~
                      I found that teachers appeared to appreciate it if I volunteered programs, or were willing to accept them instead of homework:                               iii
                                                                                                                                                                                   -0
                    Originated on perceived need: Cryptogram / character 'jumble' | substitution entry + generator.                                                              iii
                    General Purpose Multiple Choice Test Presentation and Scoring software * Flag drawing * Etc.                                                                 a>
                      Hosted as SYSOP 2 or 3 different flavors of Bulletin Board Systems (Electronic Publishing + Social Networking), including writing my
                      own drivers, terminal programs, utilities, upgrades and front ends to existing BBSs, advertising it, and hosting the area's first 1200 baud
                      system on a dedicated line.
                      Near the end of my Apple ][ usage, I made up an entire disk of utilities and games that I was willing to provide as shareware to the local
                      Apple Pi user's group, which they had indicated they were going to send out, but it's not clear to me that they ended up distributing it,




                                                                                                                                                                                   ■r
                      as I had included my phone number on it, and didn't receive any calls.
                    serving in roles: President, Custom/Contract Developer, SYSOP, Philanthropist?                                                                                        Pro-Dialer         Mobius Game
                                                                                                                                              ('
                Custom development or involvement with: Jefferson County Schools                    Arapahoe Community College                                                                           ...
                                                                                   tMBaiM
          .,.,.,.,.,.,.,.,.,.,.,.,.,,.,,.,.,.,.,.,.,.,.,,.,,.,.,,.,,.,.,.,.,.,.,.,.,.,.,.,.,,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,.,
                                                                                                                                  .,,
                Waiter/Cook/Server/Arcade at Casa Bonita : 1985 to 1986 (Billing themselves as "One of America's top ten roadside attractions.")
          e
                    Mexican, American foods / mass preparation+delivery (incl. condiments+utensils), cleaning, frying. * Training of newer employees,
                                                                                                          026
3 of 5                                                                                                                                                                                                              1/29/23, 6:11 A
http://computacor.com/GraphicalResumeWithFeedback/GraphicalRes...
                          Case 1:23-cv-00645-NYW Document 18-4                                                                                                         GraphicalResumeWithFeedback
                                                                                                                                                 Filed 03/14/23 Page 4 of 5
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                       order fulfillment & customer satisfaction + arcade coin collection. * Napkin rolling. Uniforms. Buttons. Time Cards. Sopaipillas. * Haven't
                       been the cliff diver yet.

              [I thought that the varied and intense customer interaction should help to improve my people skills. Shared tips. One year's service was considered unusually long, and awarded, at the
              time. Service for mass quantities of people; multiple production assembly lines, and simultaneous live shows. Minimal discounts. According to other employees, management reportedly
              utilized lie detector tests under certain circumstances. Said to be under British ownership at the time; now reportedly owned by 'Star Buffet' of Oregon. Reportedly the largest restaurant
              in the world at the time, and still apparently in the top 10]


              Wrangler at Bear Basin Ranch : Less than two weeks in spring / summer of 1982


                   Participating in, and even later leading trail rides, myself with neophytes (incl. my brother) * Chopping wood * Solo excursions *
                       Rounding up horses at ~4 am prior to them, and of course: * Shoveling it.

              [My grandmother put myself and my brother in touch with these people. After days of solo excursions and rides with what I seem to recall being told was a quarter horse that they had
              provided me with named "Captain" (with a light complected dappled appearance suggestive of an appaloosa, but who I was much later informed was a full blooded arabian) who I
              appreciated, and winning at tactical/strategic games such as "Ogre" and "GEV" with other ranch hands after hours, the owning duo's male half made a surprise arrival; apparently both
              made of stern stuff, and determined to apply it (I had extended upon someone else's use of a log section for chopping, which he declared was reserved for seating {and I had even
              checked that it was OK with another employee in advance}!), which I quickly replaced with another. He later solicited a round of jokes from all and sundry, none of which he laughed at,
              then adamantly declared that we were too young to engage in the reportedly bare activities that were about to occur in Bear Basin's sauna {later learning that we were reportedly also
              too young at the time for their insurance policy! {not to mention Colorado's outfitter regulations, which may not have been applicable yet anyhow}}; we left quite shortly thereafter. The
              pace of activities at the ranch did not quite appear to mesh up with skills or values which we had been taught for participation in high speed precision drill teams either. I didn't really
              have opportunity to sell any consulting skills, and was disappointed by the way it had culminated... Ah, lessons of Custer county!]



              Organisation Member at Westernaires : 1979 to 1986 (then Billing themselves as "The best precision mounted drill team at speed in
              the world.")


                   Exhibitions at local (+stock show), interstate venues * Bullwhips training * Wrangler Division member.
                   Harnessed: Carts, Chariots [Leadership is done from behind], Roman Riding [Standing on top] {Shetlands}.
                   'Red' Division: 'Indians' [Bareback], then Cavalry [MacLellan] reenactment teams * Yearly ticket sales quotas.
                   Equitation skill development and competition * Also serving in roles: Equestrian, Wrangler, Performer, Sales.


                  An english teacher was one of the more computer literate of the faculty at Golden High school, and asked me to be a teacher's
                      assistant, manning one of the computer labs. Although apparently he mostly wanted me to assist his students with their word
                      processing skills (ok, sometimes I had the lab to myself for Pascal development, though they were using the UCSD interpreter,
                      and didn't have the Turbo Pascal compiler that I was using at home on CP/M), he also suggested that I enter the regional (with
                      multiple local states being invited) programming competitions (supported by the University of Denver's Mathematics and
                      Computer Science department, though it looks like after they put someone from India in charge they first switched to events
                      sponsored by HP and sponsored by Microsoft from the Apple hardware that I had competed on, then stopped having them not
                      long after he also was put in chsarge of their new CS/Engineering program); I programmed solo, though one of the more
                      athletically inclined students who said he was just "geeking out" went along to observe. I managed to take second place (with
                      insufficient time {and no internet available to do research!} in what felt to me like a cramped schedule to finish all of their what felt
                      like mathematically oriented problems {alas no style bonus points for UI design}); a team of two guys taking first (being credited
                      for solving one more problem than I). Alas, apparently prizes for winning disappointingly didn't include trophies, plaques, or
                      scholarships (unlike athletics in those days!?)...
                  I chose to approach Lakewood's local computer store (as Golden did not have one at the time) for my high school's required "Day
                      on the Job" program, obtaining days of experience with consumer level retailing.
                  Near the end of high school, one of my classmates, whose father developed software, challenged me to what was effectively an
                      assembly level duel or contest {using 'Merlin'} for a duration of days (timed to the instruction cycle); even though his brother also
                      somehow got involved despite a promise that he wouldn't, in telling him how many instruction cycles I had achieved ahead of
                      time, I did manage to win by a substantial margin, to their expressed chagrin and consternation or indignation at the time, with                                               David's Apple][e, with Drive
                      later attempts at denial plus claiming further that they let me win (I can say that it did bear some similarity to serial interrupt                                            controller for "Rana Elite"s,
                                                                                                                                                                                                     Serial card for Prometheus
                      drivers that I had developed for telecom projects, and I beat them by considerably less of a percentage in margin than                                                       Promodem, Microsoft 'Premium'
                      performance enhancements which I later delivered on Apple's own system code, for example. I later heard that they went on to                                                 Softcard][e CP/M card {running
                      develop related telecom software themselves! {even though it sounds like they profited thereby, I haven't received royalties from                                                     Turbo Pascal}

                      that (yet) either ;-?}).
                  My uncle was responsible for the computer lab at a local community college, and would sometimes forward me requests for
                      custom software creation, either dealing directly with the college, or from people who were looking for solutions (a variety of
                      which are listed above).
                  My mother enrolled me in                   Junior Achievement, where I was the (elected) leader's assistant; the business we set up
                      manufactured and sold these rolling "penguin on stick"s, sometimes door to door, as we also had to do for our annual

                                           Westernaires stock show ticket sales quotas. I had also tried a light newspaper delivery route for a brief period.


                  I took a Pascal programming class through Adult Education between Junior High and High School, also taking a typing class
                      through WheatRidge High School's summer school program.
                  I found that some of my teachers would accept programs in place of homework assignments, or as contributions; I wrote
                      programs for my French, Social Studies, and Language Arts teachers. I used the computers in the Colorado School of Mines'
                      Green Center after hours until they restricted access. Around the end of Junior High School, my mother and my French teacher
                      got together and arranged to obtain an Apple ][e through his educational discount.
                  My grandmother got me involved in Yoga at an early age, and I have had experience with a handful of different flavors; I can put
                      my foot behind my head if I've stretched recently!...
                  The Junior High school that I attended had some Apple ]['s (a few in the library, available to students in the mornings; though first
                      come, first served!), as well as a Commodore "Pet" computer. I played chess, and when computers started to become
                      competitive at that, it encouraged my interest in them.
                  Back in the Rocky Mountains, where we lived surrounded by forest (originally in a cabin), and consuming a diet largely limited to                                                        --
                      natural sources, I attended both Elementary School, and "Open Living School" for a year, with brief computer contact at both. I
                      can recall being asked to write a program on an Apple ][ at one point near graduation from 6th grade.
                                                                                                                                                                                                                    '""'"""'



                                                                           -
                  My father worked for the U.S. Government, and we transferred to Germany when I was three years old, staying there for around
                      three years, where I attended both U.S. and German style kindergartens in Wixhausen, near Darmstadt (in the area where the
                      GSI Helmholtz Center for {Nuclear} Physics Research, and Frankenstein Castle are located). We also managed to visit many
                      countries of what is now considered the    EU.




          e ,--
             ----
               Operating Systems:
                        - -----==--
               Unix / BSD : Mac OS X, DragonFly
                                                                  -
                                                                  , ~ - ~ - - - I
                                                                   Apple DOS             Mac OS Classic
                                                                                                                       Linux: [Debian, Ubuntu, Knoppix, SUSE, Morphix,
                                                                                                                       Mandriva, ...]

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                          Case 1:23-cv-00645-NYW Document 18-4                                                                                                   GraphicalResumeWithFeedback
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           Appellate Case: 23-1197                                         Document: 010110886277                                                Date Filed: 07/12/2023                                   Page: 28
                 Windows 98 / 2000 / NT [+Server] /                Some: MS-DOS, DEC PDP / VAX /
                                                                                                                    Etc. (some use of a number of others)
                 XP / 7                                            VMS




          e ---  Languages:

                 1:Primary
                                          C / C++
                                          (decades)
                                                                  Pascal                BASIC            PostScript
                                                                                                                                     Asm/Assembly: * 6502 * 68k *
                                                                                                                                     PPC
                 2:Secondary              Lisp / Scheme           SQL                   Flash            Objective C                 (Parallel) FORTRAN                 C++0x
                                                                  OpenCL [&             Etc. (some use of a number of
                 §:Tertiary               80X86
                                                                  Cuda]                 others)
                 I also took formal classes in French for six years, which assists with comprehension in other countries utilizing latin related
                 languages. I generally like to learn new languages and environments, and adjustment to or productivity in them can be
                 relatively quick.


                 Some Honors/Awards/Facts: (in addition to those won by a number of the products mentioned above)

                 * Certified Scuba Diver
                                               II-SSI ! -PADI~ -ANDI (Nitrox) * Red Belt                     Tae Kwon Do

                 Golden High:
                 First Place, Industrial Arts Fair, whole Disk Compression, written entirely in 6502 Assembly [Merlin].
                 Second place, solo for teams of <=3, -Regional
                                                             - -[multi-state]
                                                                   - - -Programming
                                                                               - --- -        Competition
                                                                                                 - - -w/D.U.[NPO].
                                                                                                           --
                 Lettered in Forensics : Debate, primarily environmental quality topics. "Extemporaneous speaking".
                 Teacher's Assistant: For both French and English teachers (managed one of the computing labs).
                 Asked to be the official videographer for the high school's public choir performances.
                 Junior Achievement: Small business emulation; multiple small awards | pins (performance related).
                                                                                                                                                                                  David Hiking on the Matterhorn
                 Bell Junior:
                 Orchestra: Second Chair, Cello. Bowling League: Team & Individual awards (including over 200).
                 Teacher's Assistant: for the school's "Language Arts" Teacher.
                 Member, "TrailBurners": Hiking, incl. many >="14'ers" in Colorado, multi day trips incl. Grand Canyon.
                 Ralston Elementary:
                 Swim Team: Multiple trophies or ribbons for medley relay and breaststroke (.1s f/state qualifying).
                 Scouts: Pinewood Derby; third place, race performance of constructed unique automobile design.
                 Sent to "Gifted and Talented" Art Camp; after creating unique & original works during art classes/3D.
                 {One year spent attending the "Open Living School" alternate education institution in Evergreen.
                 While there, I was awarded a Fire Department plaque for artwork depicting 3D fire fighting helicopter}
                 Member of choir group, including field trips such as performing at external care facilities.
                 Read an average of three books a day while participating in a readathon battling Muscular Dystrophy.
                 Kindergarten in           Germany (German & English variants): [near Frankenstein Castle : components!]                                        A Mitchel Crest           A Dacre Crest            A Lyman Crest
                 Born: Colorado,            U.S.A. (Parents met in Boulder Colorado; their families spent time in Washington and Kansas)
                                                                     Reputed Likely Ancestral Homes and Lodgings:




           ' .
                  Acre, Israel (lost   Dacres Hotel (WA)    Tower of David in    Our Cabin in    Macintosh Moy Hall    Dacre Castle        Hermitage Castle
                 after Crusades?*)      (Lost with ranch     Jerusalem (say        Golden        (Before its reputed (Apparently taken     (Reportedly also             (Still researching ancestry+: orphaning,
                                       during Depression)    some sources)                       destruction #, and by non 'Jacobites',      taken by non                         conflicts, record issues)
                                                                                                     rebuilding)        along with a         'Jacobites' *)
                                                                                                                     number of others *)




                 Egyptian Pyramids            Mayan        Shaver/Palmer    Dumbarton Castle Fogarty Castle #          Naworth Castle *    Greystoke Castle *
                   (via Ireland?)       Multiprocessors? place in Oklahoma    (reputedly the     (shown reportedly
                                           (Cherokee                       origin of the Mitchel   rebuilt to some
                                       migration/legends?)                     family name)       extent along the
                                                                                                    same design)
                     This Document Created Primarily Using Astrobyte's BeyondPress, Within QuarkXPress 3 for Macintosh




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Bill Hambrecht - Wikipedia                                    FILED                                          2/3/23, 7:46 AM
           Appellate Case: 23-1197             Document: 010110886277
                                                  UNITED STATES                   Plaintiff's
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                                                                DISTRICT COURT                Exhibit HPage: 29
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                  WIKIPEDIA                         JEFFREY P. COLWELL, CLERK
                  The Free Encyclopedia


  Bill Hambrecht
  William R. Hambrecht (born 1935) is an American
  investment banker and chairman of WR Hambrecht + Co                                William R. Hambrecht
  which he founded in 1998. He helped persuade Google to use
  an Internet-based auction for their initial public offering (IPO)
  in 2004, instead of a more traditional method using banks and
  other financial companies to find buyers. He is credited with
  popularizing this "OpenIPO" model, using Dutch auctions to
  allow anyone, not just investing insiders, to buy stock in an
  IPO, potentially raising more money for startups. Some of the
  companies he has helped have an IPO like this include
  Overstock.com, Ravenswood Winery, Andover.net and
  Salon.com.[1][2]

  Hambrecht is also credited as one of the first major investment
  bankers to recognize the value of technology and biotech
  companies, helping to take Apple Computer, Genentech and
  Adobe Systems public in the 1980s with his earlier San
  Francisco-based company Hambrecht & Quist, which he
                                                                           _J     Born         1935 (age 87–88)
                                                                                  Education    Princeton University,
  founded in 1968 and which also backed the IPOs of Netscape,
                                                                                               AB, History
  MP3.com, and Amazon.com. The firm was bought by Chase
  Manhattan in 1999.[3] In 1997, he sponsored the foundation of                   Occupation Investment banker
  BOOM Securities (H.K.) Limited.[4]                                              Spouse       Sally R. Hambrecht
                                                                                  Children     5
  Hambrect is a 1957 graduate of Princeton University, where he
  received an A.B. in History. He has been listed as one of the top
  political donors in the country, giving mostly to Democratic candidates, and credits Nancy Pelosi,
  whom he met in the 1970s, with inspiring him to get involved in politics.[5]

  Hambrecht is on the board of trustees of the American University of Beirut,[6] Lebanon.[7] He was
  on the Motorola board of directors from 2008 to 2011 and the AOL Inc. board of directors from
  December 2010 to February 2011.[8]


  Professional football
  In the 1980s Hambrecht was a minority investor in the Oakland Invaders, a charter member of the
  failed United States Football League.[2]



https://en.wikipedia.org/wiki/Bill_Hambrecht                                                                      Page 1 of 2

                                                               029
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Plaintiff's Exhibit I {Adobe Ventures ImageX investment(s) : p19 out of 116 page SEC Form 10k filing}
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        UNITED STATES SECURITIES AND EXCHANGE COMMISSION
                                                   Washington, D.C. 20549
                                                          ________________

                                                          Form     10-K
                                                          ________________
    (Mark one)
        [X]          ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d)
                     OF THE SECURITIES EXCHANGE ACT OF 1934
                     For the fiscal year ended November 29, 2002
                                                                                 or
        [ ]          TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d)
                     OF THE SECURITIES EXCHANGE ACT OF 1934
                     For the transition period from                         to
                                                Commission file number: 0-15175

         ADOBE SYSTEMS INCORPORATED
                                            (Exact name of registrant as specified in its charter)

                                Delaware                                                                 XX-XXXXXXX
                        (State or other jurisdiction of                                                  (I.R.S. Employer
                       incorporation or organization)                                                   Identification No.)

                                    345 Park Avenue, San Jose, California 95110-2704
                                                   (Address of principal executive offices)

                         Registrant’s telephone number, including area code: (408) 536-6000
                            Securities registered pursuant to Section 12(b) of the Act: None
                     Securities registered pursuant to Section 12(g) of the Act: Common Stock

      Indicate by checkmark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15 (d)
  of the Securities Exchange Act of 1934 (the “Act”) during the preceding 12 months (or for such shorter period that
  the registrant was required to file such reports), and (2) has been subject to such filing requirements for the past 90
  days. Yes [X] No [ ]

     Indicate by checkmark if disclosure of delinquent filers pursuant to Item 405 of Regulation S-K is not contained
  herein, and will not be contained, to the best of registrant’s knowledge, in definitive proxy or information statements
  incorporated by reference in Part III of this Form 10-K or any amendment to this Form 10-K. [ ]

     Indicate by check mark whether the registrant is an accelerated filer (as defined in Rule 12b-2 of the Act).
  Yes [X] No [ ]
      The aggregate market value of the registrant’s common stock, $0.0001 par value per share, held by non-affiliates
  of the registrant on May 31, 2002, the last business day of the registrant’s most recently completed second fiscal
  quarter, was $1,462,142,091 (based on the closing sales price of the registrant’s common stock on that date). Shares
  of the registrant’s common stock held by each officer and director and each person who owns 5% or more of the
  outstanding common stock of the registrant have been excluded in that such persons may be deemed to be affiliates.
  This determination of affiliate status is not necessarily a conclusive determination for other purposes. As of January
  24, 2003, 231,074,795 shares of the registrant’s common stock, $.0001 par value per share, were issued
  and outstanding.
                                  DOCUMENTS INCORPORATED BY REFERENCE
      Portions of the Proxy Statement for the 2003 Annual Meeting of Stockholders (the “Proxy Statement”), to be
  filed within 120 days of the end of the fiscal year ended November 29, 2002, are incorporated by reference in Part
  III hereof. Except with respect to information specifically incorporated by reference in this Form 10-K, the Proxy
  Statement is not deemed to be filed as part hereof.



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  □ District Court □ Boulder County □ BoulderFederal
                                              Municipal Court
                                                                         FILED
  Address:901 19th Street, Denver, CO 80294 ■        Court
                                                              UNITED STATES DISTRICT COURT
                                                                                  DENVER, COLORADO
  Plaintiff:              David William Dacres Shaver                                03/31/2023
                                                                              JEFFREY P. COLWELL, CLERK
  Vs. Defendant(s):       Whittier Condominiums HOA
                          (City of Boulder has been sent Notice)
                                                                               A COURT USE ONLY A
  ‘Pro Se’Party/Not member of Colorado Bar (Name and Address) Case Number:
  David William Dacres Shaver
  1750 30th St Suite A338, Boulder CO 80301                                      23-cv-00645-NYW
  Phone Number: 303-351-4239 eMail:davidwshaver@yahoo.com
    [V1.49] Response to Judicial Order to Show Cause {of Federal Jurisdiction} of 3/14 [Doc#16]
  Plaintiff, in response to this Court's ‘Order to Show Cause’WRT Jurisdiction of 3/14, submits the fol-
  lowing response demonstrating why he believes this Court should have subject matter jurisdiction over
  this case. Although analys(e)s of the Order of 3/14 appear(s) to indicate that the precedents contained
  therein are actually likely largely supportive of the original filings ~ as written, Plaintiff provides the
  following additional precedents and statutory basis to further support his original filings. Plaintiff
  appreciates the opportunity to respond, at least preemptively to motions to Dismiss on similar grounds.
  Plaintiff intended his filings comprise a ~‘least cost spanning tree’ of a ~nexus of arguments & issues.
  Subject Matter Jurisdiction:
  Subject matter jurisdiction is generally traditionally established when the following conditions are met:
  1. Injury or Impending Harm: A Plaintiff or witness has suffered an injury, or there is a "certainly
  impending" threat of future harm (Precedent: Clapper v. Amnesty Int'l, USA, 568 U.S. 398, 410 (2013)).
  2. Legal Basis for the Claim: The claim presented is grounded in either statutory or common law.
  3. Personal Jurisdiction: The court possesses personal jurisdiction over the parties involved in the case.
     Plaintiff believes that these conditions should have all been, or can be, satisfied, and that his Court
  should thus be able to properly exercise its authority to adjudicate the legal issues presented in the case.
  Substantial Federal Question(s) and Forum Convenience, Comprehensive Resolution, Joinders:
  Plaintiff believes that this case does raise substantial federal question(s) under the test which the Order
  mentioned, set forth in {Grable & Sons Metal Products, Inc. v. Darue Engineering & Mfg, 545 U.S.
  308, 312 (2005)}, as well as the test in {Gunn v. Minton 568 U.S. 251 (2013)}, as resolution should
  involve the interpretation and application of federal constitutional rights, with likely systemic impact.
  Specifically, Plaintiff believes Defendant(s)' actions in wrongfully detaining Plaintiff's property impli-
  cate the 4th, 5th, and 14th Amendments of the United States Constitution. Plaintiff also believes that:


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  1. Necessarily Raised: Plaintiff's claim of wrongful detention of property implicates federal constitu-
  tional rights, which must be considered to resolve causes. The denials of access to Plaintiff's property
  raises concerns under the 4th Amendment's protection against unreasonable seizures, the 5th
  Amendment's due process guarantee, and the 14th Amendment's equal protection clause. These consti-
  tutional issues are central & essential to portions of claims & can’t be avoided in legal resolution.
  2. Actually Disputed: The federal constitutional issues presented in this case are actually disputed, as
  Plaintiff believes that initial Defendants’ & Joinables’ actions have violated U.S. constitutional rights,
  These disputes require resolving in just legal determination of Plaintiff’s causes & requested relief(s).
  3. Substantial: Federal constitutional issues in this case are substantial and implicate important federal
  interests. The interpretation and application of the 4th, 5th, and 14th Amendments in cases involving
  the wrongful detention of property implicate the balance between individual rights and the interests of
  property owners, which should be matters of significant federal concern (& to the whole system).
  4. Capable of Resolution in Federal Court: Resolution of claims in federal court should not disrupt
  the federal-state balance approved by Congress. Federal courts regularly adjudicate cases involving the
  interpretation and application of federal constitutional rights, and this case should present no unique
  challenges that would warrant a departure from that practice.
     In defense of federal subject matter jurisdiction in the associated Joinders, Plaintiff's ‘nucleus’of
  claims involve multiple parties from different states, potentially implicating diversity ♦ jurisdiction
  under 28 U.S.C.§1332. Furthermore, Plaintiff raises various federal questions, such as potential viola-
  tions of the Sherman Act, the Clayton Act, the Defend Trade Secrets Act (DTSA), and the Digital
  Millennium Copyright Act (DMCA), which can provide federal jurisdiction under 28 U.S.C.§1331.
  Plaintiff's situation requires a unified forum to economically and fairly legally handle the complexities
  of his case, which involves multiple parties and a series of transactions over an extended period.
  Handling these matters in separate state courts, even if possible, might likely lead to inconsistent judg-
  ments and hinder Plaintiff's ability to obtain optimal remedies. A federal court, with its ability to
  address both federal and state law claims, can provide a more comprehensive resolution for Plaintiff,
  ensuring that his rights are protected and justice legally served. [It is also recommended that this Court
  look into “DOJ Preps Antitrust Suit to Block Adobe’s $20 Billion Figma Deal” :announced 2.23.2023].


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  I. Additional Supporting Precedents:
  (a) {Smith v. Kansas City Title & Trust Co., 255 U.S. 180 (1921)} The Court found federal question
  jurisdiction where the Plaintiff's state-law claim required an interpretation of federal law.
  (b) {Gomez-Perez v. Potter, 553 U.S. 474 (2008)} The Court held that federal question jurisdiction
  could be invoked when a federal statute confers a right that is an essential element of state-law claims.
  (c) {Franchise Tax Board v. Construction Laborers Vacation Trust, 463 U.S. 1 (1983)} The Court con-
  sidered factors such as the presence of a substantial federal issue, the need for a uniform interpretation
  of federal law, and the effect on the federal-state balance in determining federal question jurisdiction.
  (d) {Mims v. Arrow Financial Services, LLC, 565 U.S. 368 (2012)} This decision illustrates that feder-
  al question jurisdiction can exist even when a federal statute does not explicitly provide for a private
  right of action in federal court, so long as a substantial federal issue is present.
  (e) {Holman v. Laulo-Rowe Agency, 994 F.2d 666 (9th Cir. 1993)} The Court found federal question
  jurisdiction when a state-law claim implicated significant federal issues, even though the Plaintiff did
  not specifically plead a federal cause of action.
  (f) {Oneida Indian Nation of New York v. County of Oneida, 414 U.S. 661 (1974)} This decision
  demonstrates that a case can arise under federal law when a claim implicates significant federal issues
  and requires resolution of a substantial question of federal law.
  (g) {Mathews v. Eldridge, 424 U.S. 319 (1976)} This case established the balancing test for determin-
  ing what process is due under the 5th Amendment's guarantee of due process. The test weighs the pri-
  vate interest affected, the risk of erroneous deprivation, and the government's interest. This precedent
  supports Plaintiff's contention that denials of access to his personal property implicates the 5th
  Amendment's due process guarantee.
  II. Extra Statutory & Doctrinal & Other Basis:
  (a) 42 U.S.C.§1983 - This statute provides a remedy for individuals whose constitutional rights have
  been violated by entities acting under ‘color of state law’, which Plaintiff's allegations demonstrate .
  (b) {Bivens v. Six Unknown Named Agents, 403 U.S. 388 (1971)} [Also cited in original ‘Brief’]- In
  this case, the Supreme Court held that a cause of action could be implied directly under the U.S.
  Constitution for violations of constitutional rights by federal officials, and otherwise illustrates general


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  potential for federal jurisdiction in cases involving constitutional violations.
  (c) Defendant(s)+ also have referenced environmental laws amongst excuses for obstructions. To the
  extent that their actions have been colored or otherwise directed by governmental requirements (i.e.
  R.C.R.A. or CERCLA), this too could contribute to jurisdiction.
  (d) Also, joint and several liability at the federal level could benefit this case, as it should ensure that
  all parties responsible for the issues are held accountable. This principle has been established in cases
  such as {United States v. Bestfoods, 524 U.S. 51 (1998)}, in which the Supreme Court held that under
  CERCLA, a party who is found liable for cleanup costs at a contaminated site may be held jointly and
  severally liable with other potentially responsible parties, regardless of their degree of fault.
  (e) The doctrine of 'Rooker-Feldman' indicates that actions which are originally brought at a state level,
  may not be able to be elevated to a federal level later, thus federal issues should be handled here first.
  {Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923); D.C. Court of Appeals v. Feldman, 460 U.S. 462 (1983)}
  [Plaintiff believes that issues raised in this federal court action are issues that lower courts have not yet addressed]
  (f) Finally, sources of jurisdiction may be bolstered by a ‘Declaratory Judgment’ via 28 U.S.C.§ 2201.
  (g) Ref: Cooper & Nielson’s “Complete Diversity & Closing ... Federal Courts” on minimal diversity ♦
  (h) Ref: Plaintiff’s cousin Glanville’s “Tractatus De Legibus et Consuetudinibus Angliae” on Replevin.
  III. Federal Jurisdiction Based on Preemption (or Complete Preemption):
      Plaintiff contends that federal jurisdiction may also be proper based on the doctrine of federal pre-
  emption. The Supremacy Clause of the United States Constitution mandates that federal law preempts
  state law when there is a direct conflict between the two, or when federal law occupies a field so com-
  prehensively that it leaves no room for state regulation. {Arizona v. U.S., 567 U.S.387,399 (2012)}.
      In the present case, Plaintiff believes that constitutional issues raised in his Replevin claim impli-
  cate areas where federal law should preempt state law. Specifically, Plaintiff argues that his claim
  involves property rights and due process protections said to be guaranteed by the U.S. Constitution's
  4th and 5th Amendments, which are federal law. Plaintiff further argues that these federal rights should
  preempt (perhaps even completely) any conflicting state law claims or defenses raised by Defendant(s).
      This argument is supported by several precedents where federal preemption was found to provide a
  basis for federal subject matter jurisdiction. In {Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S.


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  546 (2005)}, the Supreme Court held that federal question jurisdiction existed where a Plaintiffs' state-
  law class-action claims were completely preempted by federal law. Similarly, in the ‘test’ precedent
  which your Order cited {Grable & Sons Metal Prod., Inc. v. Darue Eng'g & Mfg., 545 U.S. 308
  (2005)}, the Court found that federal jurisdiction existed where a state-law quiet title action raised a
  substantial federal question regarding the meaning of a federal statute. In such cases, federal jurisdic-
  tion may be appropriate even if Plaintiff's complaint doesn’t explicitly raise federal question; i.e.:
  {Caterpillar Inc. v. Williams, 482 U.S. 386 (1987)}{Metropolitan Life Insurance Co. v. Taylor, 481 U.S. 58 (1987)}
    [Recommended contemplation: the ‘Supremacy’ and ‘Commerce’Clauses in the U.S. Constitution].
  IV. Inferable Information (which may include any via recommended ‘artful pleading doctrine’s):
     Plaintiff contends that the Court should have been able to infer substantial federal question from the
  facts and allegations, which include wrongful detention of property (which implicates property rights
  and due process protections guaranteed by the Constitution), governmental actors and/or involvement,
  HOA acting under 'color of state law' (and/or federal environmental laws), and violations of the 4th,
  5th, and 14th Amendments. These satisfy the well-pleaded complaint rule. Additionally, Defendant(s)'s
  {including those provided via Permissive Joinders} actions can be seen as infringements or violations
  of rights under 42 U.S.C.§1983. Determination of Plaintiff’s personal property value, or replacing
  stock certificates, or Joinder of other Defendants, potentially necessitating interstate action, further may
  support potential alternate | additional diversity jurisdiction via 28 U.S.C.§1332 ♦ (Wherefore Plaintiff
  moves that any should be Joined if necessary). Plaintiff's formal computer engineering education,
  requiring certification in multiple forms of logic, bolsters logical defensive arguments presented.
  [Note: {Grable...vs...Darue} reportedly originally brought in State court & Federal question ~inferred]
  V. Potential Penalties for Judges burdening Parties w/Basic | Unnecessary Research:
  (a) The ‘Founding Fathers’of the U.S.A. justified their ~forcible adaptation and subsequent imposition
  of the English System of Law in part by adopting a perspective in which ‘Liberty’was effectively at
  the opposite side of the spectrum of ‘Taxation’; thus one might expect that ‘Justice’ should be also.
  (b) Judges may face penalties for unduly burdening plaintiffs, i.e. with basic research, or failing to con-
  sider relevant case law, as in {Liteky v. United States, 510 U.S. 540 (1994)}, where the Supreme Court
  held that a judge's conduct during the course of judicial proceedings can be a basis for recusal if it


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  demonstrates favoritism or antagonism or impatience or disregard. In apparently (re)acting ~Day 1,
  before Plaintiff’s original filings were even fully made available (with larger ones still not having been
  DL/d by Clerk), and likely without having taken the time to read associated cases, Plaintiff believes that
  this Judge's ‘Order to Show Cause’ has likely displayed impatience and some disregard, which may fur-
  ther qualify for Recusal in this case. Ref: 28 U.S.C.§455(a).
  Additional Supporting Precedents for Recusal:
  (i) {Berger v. United States, 255 U.S. 22 (1921)}: In this case, the Supreme Court held that even the
  appearance of bias on the part of a judge or unfairness can be sufficient grounds for recusal.
  (ii) In {re Murchison, 349 U.S. 133 (1955)}: ... emphasised that judges should recuse themselves when
  their impartiality might reasonably be questioned, to maintain public confidence in the judiciary.
  VI. Brandeis’ ‘Court of Last Resort’ Doctrine and Heretofore Unresolveable Aspects of the Case:
     Plaintiff thinks that Brandeis’ ‘Court of Last Resort’ doctrine, which suggests that certain cases
  should be decided by the highest court when lower courts have been unable to resolve the dispute,
  should apply to this case. As previously mentioned, some issues presented in this case have already
  proved unresolveable at, or result from county &| probate &| city municipal levels. Given the complex
  and intricate nature of the legal issues and the constitutional rights involved, it is appropriate to consid-
  er the applicability of the ‘Court of Last Resort’doctrine in the context of the current proceeding.
     By invoking the ‘Court of Last Resort’doctrine, Plaintiff seeks to demonstrate the necessity of a
  higher-level judicial intervention to resolve the case effectively. Aspects of this case, which other
  courts absolutely refused to even address, underscore the importance of ensuring matters are heard by a
  court with the authority, expertise, and experience necessary to adjudicate the complex issues at hand.
  VII. Background (Filing of this Complaint & Formal Education Support):
  (a) Plaintiff has been made aware that ~several filings were apparently missing from those he had orig-
  inally sent to the Clerk on 3/13, which were initially accepted for uploading. Subsequent communica-
  tion with the Clerk's office led to requests for changes in document format, contrary to 'pacer' recom-
  mendations, and eventually reverting to the original submission, and provided no stamped summons or
  rationale. The Clerk has also not yet rectified filing date records to reflect the initial submission date.
  (b) In the selection of a presiding Judge, Plaintiff initially requested a Judge who was not a 'Magistrate


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  Judge' (due to concerns raised on internet forums about their reputed record of bias against ‘Pro Se’ liti-
  gants in the 10th Circuit) and preferred a male Judge, as the three other Judges in related proceedings
  have all been female. The original Clerk, ‘Mike’{middle name?}, expressed no objection to this
  request. However, after payment was requested & received, instead, Plaintiff was assigned a Judge who
  appears to effectively (or at least recently) meet neither criteria.
  (c) Plaintiff has a background in Computer Engineering, a field in which the principles of efficiency
  and succinctness are highly valued. Requiring Plaintiff to write defenses of jurisdiction even longer
  than the original body of the Complaint itself, via an Order nearly its size, contradicts these principles;
  entire books could be written about these subjects, yet such ought not to be necessary to proceed here.
    [These discrepancies have raised Plaintiff’s concerns about the fairness, trustworthiness, and trans-
     parency of the filing, judicial assignment, jurisdiction evaluation, and overall ‘Justice’processes]
  WHEREFORE IN CONCLUSION: Plaintiff believes that his claims ~satisfy {Grable/Gunn} test(s), & that
  the federal issues raised are necessarily a part of Plaintiff's Replevin & other action(s), as Plaintiff can’t
  obtain relief here w/o establishing that Defendant(s)’ actions violated Plaintiff's constitutional rights.
  Further, that these issues are actually disputed, as evidenced by Defendant(s)' continued obstruction &|
  denial(s) of any wrongdoing, &| refusals to cooperate. That federal questions raised are substantial, as
  they involve the interpretation of constitutional provisions and their application to the specific facts of
  causes of this case. Finally, that resolution of these issues in federal court shouldn’t disrupt federal-
  state balance, as federal courts are well-equipped to handle claims involving constitutional questions.
      Plaintiff believes that he has provided significant precedents and statutory basi(e)s for this Court's
  jurisdiction over this case, and facts & allegations in the Complaint raise substantial Federal questions.
  Further he feels that he has demonstrated that doctrines such as ‘Court of Last Resort’support jurisdic-
  tion; also. Plaintiff respectfully requests and moves that, God Willing, the current Judge should con-
  sider ~Vacating the Order (alternatively, Plaintiff requests leave to amend the Complaint to address
  remaining necessary concerns) &| Recusing herself from this case in favor of a Judge with over 15
  years of experience, possessing a broad range of expertise, and particularly adept at “De Novo” inter-
  pretation of multiple associated cases, &| for any other relief deemed appropriate &| just &| necessary.

  Signature of ‘Plaintiff’:                     /s/David W
                                                         m Shaver        (PRO SE)   Date:        3.31.2023

  Address: 1750 30th St Suite A338, Boulder CO 80301                                Phone:     303-351-4239
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                   Judge Nina Y. Wang

  Civil Action No. 23-cv-00645-NYW

  DAVID WILLIAM DACRES SHAVER,

         Plaintiff,

  v.

  WHITTIER CONDOMINIUMS HOA,

         Defendant.


                                              ORDER


         This matter comes before the Court on Plaintiff’s “Response to Judicial Order to Show

  Cause {of Federal Jurisdiction} of 3/14” [Doc. 24]. For the reasons set forth below, the Court

  concludes that Plaintiff David William Dacres Shaver (“Plaintiff” or “Mr. Shaver”) has not met

  his burden of establishing this Court’s subject matter jurisdiction over this case. Accordingly, it

  is ORDERED that Plaintiff’s “Complaint for Cause of Action : Replevin [Based on JDF 116]

  (FRCP Rule 64 &/or CRCP 104)” (the “Complaint”) [Doc. 1] is DISMISSED without prejudice

  for lack of subject matter jurisdiction. It is further ORDERED that Plaintiff is GRANTED

  LEAVE to file an amended complaint within 21 days of the date of this Order that complies with

  Rules 8 and 10 of the Federal Rules of Civil Procedure.

                                          BACKGROUND

         Mr. Shaver initiated this civil action on March 13, 2023 against Defendant Whittier

  Condominiums HOA (“Defendant”). See [Doc. 1]. The Complaint states that “[t]his is an action

  to recover possession of personal property and/or damages.” [Id. at 1]. Plaintiff alleges that on




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  October 19, 2021, a fire occurred at the Whittier Place Condominiums complex and caused

  damages to Condominium #39, which contains Plaintiff’s property. [Id.]. Plaintiff alleges that

  Defendant is wrongfully detaining his personal property “against the Plaintiff’s claim of right to

  possession,” [id.], and that Defendant has been “unresponsive and obstructive” in Plaintiff’s efforts

  to re-obtain his property. [Id. at 4]. Plaintiff claims that “the refusals to allow [him] access to the

  condominium are in violation of U.S. law in a number of ways.” [Id.]. The Complaint seeks the

  following relief: (1) a Court order directing Defendant to show cause why Plaintiff’s property

  should not be obtained from Defendant and delivered to Plaintiff; (2) that the Court set a show-

  cause hearing “to make a preliminary determination concerning the right to possession of

  properties described in the Complaint”; (3) judgment in his favor “for the possession of the

  property”; and (4) costs and attorney’s fees. [Id. at 5–6].

         On March 14, 2023, this Court entered an Order to Show Cause directing Plaintiff to show

  cause why his case should not be dismissed without prejudice for lack of subject matter

  jurisdiction. See [Doc. 16]. The Court noted that the Complaint does not clearly allege any

  violation of federal law or other basis for federal jurisdiction. [Id. at 2 n.2 (noting that Plaintiff

  did not invoke diversity jurisdiction), 3]. And while the Court acknowledged that other filings in

  this case suggested that Plaintiff believes his constitutional rights have been violated, see, e.g.,

  [Doc. 9 at 3], the Court noted that “Plaintiff does not allege that Defendant is a government actor,

  and it does not appear plainly on the face of the Complaint that it is.” [Doc. 16 at 4].

         The Court also acknowledged, however, that state law claims raising a substantial question

  of federal law may be sufficient to establish federal question jurisdiction. [Id.]. But because Mr.

  Shaver had not addressed any of the relevant considerations in his filings, the Court could not

  conclude that the substantial question doctrine applies in this case. [Id. at 5]. For these reasons,

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  the Court directed Plaintiff to show cause, on or before March 31, 2023, why this case should not

  be dismissed without prejudice for lack of subject matter jurisdiction. [Id.]. Plaintiff filed his

  Response on March 31, 2023. See [Doc. 24]. The Court addresses Plaintiff’s arguments below.

                                        LEGAL STANDARDS

  I.     Subject Matter Jurisdiction

         A district court has an independent obligation to satisfy itself of its own jurisdiction. See

  City of Albuquerque v. Soto Enters., Inc., 864 F.3d 1089, 1093 (10th Cir. 2017). Accordingly, a

  court “may sua sponte raise the question of whether there is subject matter jurisdiction ‘at any

  stage in the litigation.’” 1mage Software, Inc. v. Reynolds & Reynolds Co., 459 F.3d 1044, 1048

  (10th Cir. 2006) (quoting Arbaugh v. Y & H Corp., 546 U.S. 500, 506 (2006)). A court should not

  proceed in a case unless it has first assured itself that jurisdiction exists. See Cunningham v. BHP

  Petroleum Great Britain PLC, 427 F.3d 1238, 1245 (10th Cir. 2005).

         28 U.S.C. § 1331 provides that federal district courts “have original jurisdiction of all civil

  actions arising under the Constitution, laws, or treaties of the United States.” “For statutory

  purposes, a case can ‘arise under’ federal law in two ways. Most directly, a case arises under

  federal law when federal law creates the cause of action asserted.” Gunn v. Minton, 568 U.S. 251,

  257 (2013) (alteration marks omitted). “Under the longstanding well-pleaded complaint rule . . .

  a suit arises under federal law only when the plaintiff’s statement of his own cause of action shows

  that it is based upon federal law.” Vaden v. Discover Bank, 556 U.S. 49, 60 (2009) (quotation and

  brackets omitted); see also Nicodemus v. Union Pac. Corp., 318 F.3d 1231, 1235 (10th Cir. 2003)

  (“A case arises under federal law if [the] well-pleaded complaint establishes either that federal law

  creates the cause of action or that the plaintiff’s right to relief necessarily depends on resolution of

  a substantial question of federal law.” (citation and internal quotations omitted)). It “takes more

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  than a federal element to open the ‘arising under’ door” of § 1331. Empire Healthchoice

  Assurance, Inc. v McVeigh, 547 U.S. 677, 701 (2006). “[T]he Court must analyze the complaint

  to determine whether it is based on federal law.” Gwilt v. Harvard Square Ret. & Assisted Living,

  537 F. Supp. 3d 1231, 1237 (D. Colo. 2021). But in so doing, the Court ignores mere conclusory

  allegations of jurisdiction. Penteco Corp. P’ship--1985A v. Union Gas Sys., Inc., 929 F.2d 1519,

  1521 (10th Cir. 1991).

          Second, even where a claim is based in state law, the Supreme Court “ha[s] identified a

  ‘special and small category’ of cases in which arising under jurisdiction still lies.” Gunn, 668 U.S.

  at 258 (quoting Empire Healthchoice, 547 U.S. at 690). Specifically, state law claims that raise a

  substantial question of federal law may be sufficient to establish federal question jurisdiction.

  Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 312 (2005). “To invoke

  this so-called ‘substantial question’ branch of federal question jurisdiction,” the party invoking a

  federal court’s jurisdiction must establish that “a federal issue is: (1) necessarily raised, (2) actually

  disputed, (3) substantial, and (4) capable of resolution in federal court without disrupting the

  federal-state balance approved by Congress.” Becker v. Ute Indian Tribe of the Uintah & Ouray

  Rsrv., 770 F.3d 944, 947 (10th Cir. 2014) (quoting Gunn, 568 U.S. at 258).

  II.     Pro Se Parties

          In applying the above principles, the Court is mindful that Mr. Shaver proceeds pro se, and

  the Court thus affords his papers and filings a liberal construction. Haines v. Kerner, 404 U.S.

  519, 520–21 (1972). But the Court cannot and does not act as his advocate, Hall v. Bellmon, 935

  F.2d 1106, 1110 (10th Cir. 1991), and applies the same procedural rules and substantive law to

  Plaintiff as to a represented party. See Murray v. City of Tahlequah, 312 F.3d 1196, 1199 n.3 (10th

  Cir. 2008); Dodson v. Bd. of Cnty. Comm’rs, 878 F. Supp. 2d 1227, 1236 (D. Colo. 2012).

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                                              ANALYSIS

         Mr. Shaver raises a number of arguments in his Response to the Court’s Order to Show

  Cause. First, he argues that his case fits within the “substantial question” doctrine, which suggests

  that his claims arise under state law. [Doc. 24 at 1–2]. According to Plaintiff, “the Court should

  have been able to infer [a] substantial federal question from the facts and allegations, which include

  wrongful detention of property (which implicates property rights and due process protections

  guaranteed by the Constitution), governmental actors and/or involvement, HOA acting under

  ‘color of state law’ (and/or federal environmental laws), and violations of the 4th, 5th, and 14th

  Amendments.” [Id. at 5]. However, he goes on to argue that he “raises various federal questions”

  in his Complaint. [Id. at 2, 3–4]. The Court first identifies the Parties to this action before turning

  to Plaintiff’s various jurisdictional arguments.

  I.     The Parties to this Case

         Simultaneously with the filing of his Complaint, Mr. Shaver filed a number of motions in

  this case. See [Doc. 2; Doc. 10; Doc. 11; Doc. 12; Doc. 14]. And on March 15, 2023, Plaintiff

  filed an Amended Motion for Permissive Joinder of 3rdP [sic] if Appropriate (the “Motion for

  Joinder”). [Doc. 19]. In the Motion for Joinder, Plaintiff states that he “believes that permissive

  Joinder under FRCP Rule 20 may be appropriate in this Complaint, if in [sic] order to determine

  damages which may have been contributed to by the City of Boulder or its Departments.” [Id. at

  1]. The Motion for Joinder then lists a number of governmental and private entities and individual

  persons, without explanation, including the Boulder Police Department; “Boulder Colorado Fire

  & Rescue”; the Boulder Municipal Court; Charles Taylor Engineering Tech. Services; Sentry




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  Property Management; American Family Mutual Insurance Company; Mollenkopf Property Mgt,

  LLC; and CorVel Corporation. [Id.]. The Motion for Joinder states that

            Plaintiff Moves that if after review of the Complaint, and the above []associated
            Case Filing(s)/report(s), this Court should determine it to be appropriate, this Court
            may permissively Join any of the above parties, preferably provide leave to allow
            amendment of the Complaint to add Causes for Intentional Interference With
            Property Rights, and/or Interference With Right of Way and/or Right of Common
            [sic], and/or Violation of Civil Rights, & for any other relief deemed just & proper.

  [Id.].

            However, the entities or individuals listed in the Motion for Joinder are not current parties

  to this case. Although Mr. Shaver suggests that there are numerous Defendants in this action,

  “including those provided via Permissive Joinders,” [Doc. 24 at 5], the Federal Rules require that

  all defendants be named in the caption of the complaint. See Fed. R. Civ. P. 10(a). The only

  Defendant named in the Complaint’s caption is Whittier Condominiums HOA. See [Doc. 1 at 1].

  Furthermore, to the extent Plaintiff attempts to add additional Defendants to this case through his

  Motion for Joinder, the Court cannot proceed in this litigation or rule on any of Plaintiff’s motions

  without first satisfying itself of the Court’s subject matter jurisdiction over the case.

  Cunningham, 427 F.3d at 1245. Indeed, subject matter jurisdiction “must be determined from the

  allegations of fact in the complaint, without regard to mere conclusionary allegations of

  jurisdiction.” Groundhog v. Keeler, 442 F.2d 674, 677 (10th Cir. 1971). Accordingly, insofar as

  Mr. Shaver attempts to rely on the “Joinables’ actions” in his Response to the Order to Show Cause

  to establish subject matter jurisdiction, [Doc. 24 at 2], he cannot do so, and the Court’s subject

  matter jurisdiction analysis is limited to the named Defendant and any claims asserted against that

  entity.

  II.       Subject Matter Jurisdiction

            A.     Diversity Jurisdiction

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         First, although Plaintiff asserts in the Complaint that the Court has federal question

  jurisdiction, he argues in his Response that his “‘nucleus’ of claims involve multiple parties from

  different states, potentially implicating diversity jurisdiction under 28 U.S.C § 1332.” [Id.].

  Section 1332 states that “district courts shall have original jurisdiction of all civil actions where

  the matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and

  is between citizens of different States.” 28 U.S.C. § 1332(a)(1). As explained above, the only

  named Defendant in this matter is Whittier Condominiums HOA. See [Doc. 1 at 1]. Mr. Shaver

  does not allege in his Complaint what type of entity Defendant is, e.g., whether Defendant is a

  corporation or an unincorporated association.           This information is essential to the Court’s

  jurisdictional analysis because while a corporation is a citizen of both its state of incorporation and

  its principal place of business, 28 U.S.C. § 1332(c)(1), the citizenship of an unincorporated entity

  is determined by the citizenship of all of its members. See Siloam Springs Hotel, LLC v. Century

  Sur. Co., 781 F.3d 1233, 1237–38 (10th Cir. 2015); see also Sullivan v. Eaglestone Ranch

  Homeowners Ass’n, No. 17-8067, 2018 WL 1224386, at *1 (10th Cir. Mar. 5, 2018) (finding that

  an HOA was an unincorporated association).              Whether Defendant is a corporation or an

  unincorporated association, Plaintiff’s allegations are insufficient to establish Defendant’s state of

  citizenship because Plaintiff has not alleged Defendant’s principal place of business or state of

  incorporation or, in the alternative, affirmatively identified all of Defendant’s members.

  Accordingly, the allegations are insufficient to establish complete diversity of citizenship in this

  case for purposes of § 1332. See Grynberg v. Kinder Morgan Energy Partners, L.P., 805 F.3d

  901, 905 (10th Cir. 2015) (“Diversity jurisdiction requires complete diversity—no plaintiff may

  be a citizen of the same state as any defendant.”).

         B.      Various Federal Statutes



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         Mr. Shaver next contends that the Court has federal question jurisdiction over this case

  because he “raises various federal questions, such as potential violations of the Sherman Act, the

  Clayton Act, the Defend Trade Secrets Act (DTSA), and the Digital Millennium Copyright Act

  (DMCA), which can provide federal jurisdiction under 28 U.S.C. § 1331.” [Doc. 24 at 2]. The

  Complaint does not assert claims under any of these federal statutes nor mention any of these

  statutes. See generally [Doc. 1]. Indeed, the words “copyright” and “trade secret” do not appear

  in the Complaint. [Id.]. Nor does the Complaint allege facts, taken as true, that would allow a

  factfinder to conclude that any of these federal statutes has been violated. See Bell Atl. Corp. v.

  Twombly, 550 U.S. 544, 556 (2007). Even though a pro se plaintiff’s pleading is entitled to a

  liberal construction, the mere use of federal law labels is insufficient to invoke federal question

  jurisdiction. See Firstenberg v. City of Santa Fe, 696 F.3d 1018, 1025 (10th Cir. 2012) (holding

  pro se litigant’s “reference in the complaint to four different sources of federal law” was

  insufficient to establish federal question jurisdiction). As mentioned above, a claim “‘arises under’

  federal law for 28 U.S.C. § 1331 purposes ‘only when the plaintiff’s statement of his own cause

  of action shows that it is based upon federal law.” Vaden, 556 U.S. at 60 (quotation and brackets

  omitted). The Complaint does not show that Plaintiff’s case arises under any of these statutes;

  accordingly, Plaintiff’s invocation of these statutes in his Response is insufficient to establish

  federal subject matter jurisdiction.

         Similarly, the Court is respectfully unpersuaded by Plaintiff’s argument that

  “Defendants(s)+ [sic] also have referenced environmental laws amongst excuses for obstructions”

  and “[t]o the extent that their actions have been colored or otherwise directed by governmental

  requirements (i.e. R.C.R.A. [(the Resource Conservation and Recovery Act)] or CERCLA [(the

  Comprehensive Environmental Response, Compensation, and Liability Act)]), this too could



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  contribute to jurisdiction.” [Doc. 24 at 4]. An “assertion by a defendant of a defense based on

  federal law” is not sufficient “to confer federal jurisdiction.” Firstenberg, 696 F.3d at 1025. In

  addition, Defendant has not filed an Answer or otherwise responded to the Complaint to date;

  indeed, it is not clear that the Defendant has been properly served or has waived service at this

  juncture. See Fed. R. Civ. P. 4(c); see also [Doc. 23]. In any case, Plaintiff cannot rely on any

  anticipated defenses of Defendant to establish subject matter jurisdiction. See Nicodemus, 440

  F.3d at 1232 (“The well-pleaded complaint rule . . . means that federal-question jurisdiction may

  not be predicated on a defense that raises federal issues.”).

         C.      42 U.S.C. § 1983

         Plaintiff next asserts that this Court has federal jurisdiction based on 42 U.S.C. § 1983

  because “[t]his statute provides a remedy for individuals whose constitutional rights have been

  violated by entities acting under ‘color of state law[,’] which Plaintiff’s allegations demonstrate.”

  [Doc. 24 at 3]. Plaintiff directs the Court to no specific allegations in his Complaint that

  sufficiently allege that Defendant has acted under color of state law. See [id.]. Having reviewed

  the Complaint, the Court concludes that there are no allegations that Defendant acted under color

  of state law, let alone supporting factual allegations plausibly supporting any such assertion.

  Because Mr. Shaver does not assert claims against any state actors or allege that Defendant has

  acted under color of state law, he cannot rely on § 1983 as a basis for federal jurisdiction.

         D.      Bivens

         Mr. Shaver contends that Bivens v. Six Unknown Named Agents, 403 U.S. 388 (1971),

  “illustrates general potential for federal jurisdiction in cases involving constitutional violations.”

  [Doc. 24 at 3–4]. As acknowledged by Plaintiff, see [id.], in Bivens, “the Supreme Court

  recognized an implied cause of action against federal actors in their individual capacities for



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  deprivation of Fourth Amendment rights.” Punchard v. U.S. Bureau of Land Mgmt., 180 F. App’x

  817, 819 (10th Cir. 2006) (emphasis added). Plaintiff, who does not allege that Defendant is a

  federal actor, has not asserted a Bivens cause of action. See generally [Doc. 1]. Thus, this is not

  a basis for federal jurisdiction under § 1331.

          E.      The Rooker-Feldman Doctrine

          Next, Plaintiff asserts that “[t]he doctrine of ‘Rooker-Feldman’ indicates that actions which

  are originally brought at a state level, may not be . . . elevated to a federal level later, thus federal

  issues should be handled here first.” [Doc. 24 at 4]. The Rooker-Feldman doctrine is an abstention

  doctrine that “precludes lower federal courts ‘from effectively exercising appellate jurisdiction

  over claims actually decided by a state court and claims inextricably intertwined with a prior state-

  court judgment.’” PJ ex rel. Jensen v. Wagner, 603 F.3d 1182, 1193 (10th Cir. 2010). It is not a

  source of federal subject matter jurisdiction.

          F.      The Declaratory Judgment Act

          Mr. Shaver also argues that “sources of jurisdiction may be bolstered by a ‘Declaratory

  Judgment’ via 28 U.S.C. § 2201.” [Doc. 24 at 4]. To the extent this statement can be construed

  as an argument that this Court has subject matter jurisdiction over this case pursuant to the

  Declaratory Judgment Act, it is well settled that the Declaratory Judgment Act “does not confer

  jurisdiction upon federal courts, so the power to issue declaratory judgments must lie in some

  independent basis of jurisdiction.” Cardtoons, L.C. v. Major League Baseball Players Ass’n, 95

  F.3d 959, 964 (10th Cir. 1996) (citations omitted). Accordingly, setting aside the fact that Plaintiff

  appears to request only injunctive and monetary relief in his Complaint—not a declaratory

  judgment, see [Doc. 1 at 5–6]—the Declaratory Judgment Act does not operate to confer

  jurisdiction in this case.



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         G.      Preemption

         Plaintiff “contends that federal jurisdiction may also be proper based on the doctrine of

  federal preemption.” [Doc. 24 at 4]. He states that he “believes that constitutional issues raised

  in his Replevin claim implicate areas where federal law should preempt state law,” for example,

  because “his claim involves property rights and due process protections said to be guaranteed by

  the U.S. Constitution’s 4th and 5th Amendments, which are federal law.” [Id.]. Again, Plaintiff

  has sued only a private entity in this case and has not asserted any cognizable claims under the

  United States Constitution. Insofar as Plaintiff suggests that his state-law claims raise a substantial

  federal question, this argument is addressed below.

         H.      Substantial Federal Question

         Finally, the Court turns to Plaintiff’s argument that his case raises a substantial federal

  question. [Doc. 24 at 5]. As mentioned above, the party invoking a federal court’s jurisdiction

  based on the substantial question doctrine must establish that “a federal issue is: (1) necessarily

  raised, (2) actually disputed, (3) substantial, and (4) capable of resolution in federal court without

  disrupting the federal-state balance approved by Congress.” Becker, 770 F.3d at 947. This

  “substantial question” branch of cases has “narrow boundaries.”            Id.; see also Gilmore v.

  Weatherford, 694 F.3d 1160, 1171 (10th Cir. 2012) (“[T]his branch of arising-under jurisdiction

  is a slim one.”). “[T]he mere presence of a federal issue in a state cause of action does not

  automatically confer federal-question jurisdiction.” Becker, 770 F.3d at 947. And “if a claim does

  not present ‘a nearly pure issue of law, one that could be settled once and for all and thereafter

  would govern numerous cases,’ but rather is ‘fact-bound and situation-specific,’ then federal

  question jurisdiction will generally be inappropriate.”           Id. at 947–48 (quoting Empire

  Healthchoice, 547 U.S. at 700–01) (ellipses omitted).



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          Plaintiff argues that his “claim of wrongful detention of property implicates federal

  constitutional rights, which must be considered to resolve causes,” such that a federal issue is

  “necessarily raised” in this case. [Doc. 24 at 4]. A federal question is “necessarily raised” only if

  it is a “necessary element of one of the well-pleaded state claims” or whether it is “‘really’ one of

  federal law.” Franchise Tax Bd. of State of Cal. v. Constr. Laborers Vacation Tr. for S. Cal., 463

  U.S. 1, 13 (1983). This is not the case here. It appears that Plaintiff has sued a non-governmental

  Defendant for replevin. “Replevin is a possessory action in which a claimant seeks to recover both

  possession of personal property that has been wrongfully taken or detained and damages for its

  unlawful detention.” City & Cnty. of Denver v. Desert Truck Sales, Inc., 837 P.2d 759, 763 (Colo.

  1992). A replevin plaintiff must demonstrate (1) that the plaintiff is the owner of the property

  claimed; and (2) that the property is being detained by the defendant against the plaintiff’s claim

  of right to possession. Id.; see also Colo. R. Civ. P. 104(b)(1)–(2). Thus, a replevin action against

  a private actor concerns rights of ownership and possession, not constitutional rights concerning

  the governmental seizure of property. Moreover, and importantly, the allegations in the Complaint

  suggest that this case “does not present a nearly pure issue of law, one that could be settled once

  and for all and thereafter would govern numerous cases, but rather is fact-bound and situation-

  specific.” Becker, 770 F.3d at 947–48 (citation, internal quotations, and ellipses omitted). In this

  type of case, “federal question jurisdiction [is] generally . . . inappropriate.” Id. at 948.

          The Court must exercise “prudence and restraint” in conducting the substantial-question

  analysis. Merrell Dow Pharms. Inc. v. Thompson, 478 U.S. 804, 810 (1986). Mr. Shaver has not

  demonstrated that a federal question is an essential element of his claim(s), let alone a substantial




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  one. This case is therefore not within the “special and small category of cases” in which a federal

  court may exercise jurisdiction over a state-law claim. Gunn, 568 U.S. at 258.

         In sum, Plaintiff has not met his burden to establish subject matter jurisdiction in this case.

  In addition, given Plaintiff’s exhaustive arguments in his Response and the lack of clarity in the

  Complaint, the Court concludes that entering a second order to show cause would not be efficient

  in this matter. Accordingly, Plaintiff’s Complaint is DISMISSED without prejudice for lack of

  subject matter jurisdiction. Plaintiff is GRANTED LEAVE to file an amended complaint within

  21 days of the date of this order. Plaintiff is expressly advised that if he declines to file an

  amended complaint by the Court’s deadline, the Court will direct the Clerk of Court to

  terminate this case.

         If Plaintiff chooses to file an amended pleading, he is expressly ADVISED of his

  obligation to comply with Rule 8 of the Federal Rules of Civil Procedure, which provides that a

  complaint must contain (1) a short and plain statement of the grounds for the Court’s jurisdiction;

  (2) a short and plain statement of any claim showing that the pleader is entitled to relief; and (3) a

  demand for the relief sought. Fed. R. Civ. P. 8(a). Rule 8(d)(1) requires that “[e]ach allegation

  must be simple, concise, and direct.” Fed. R. Civ. P. 8(d)(1). “Taken together, Rules 8(a) and

  (d)(1) underscore the emphasis placed on clarity and brevity by the federal pleading rules. Prolix,

  vague, or unintelligible pleadings violate Rule 8.” Gravley v. Hunter, No. 18-cv-00171-GPG,

  2018 WL 10320585, at *1 (D. Colo. Apr. 6, 2018). Rule 8 has been construed to require claimants

  to specifically delineate their claims for relief. See Polovino v. Int’l Bhd. of Elec. Workers, AFL-

  CIO, No. 15-cv-023-JHP-PJC, 2015 WL 4716543, at *4 (N.D. Okla. Aug. 7, 2015) (“A complaint

  falls short of Rule 8’s notice requirement when it fails to list or clearly articulate any causes of

  action.”). “Claims must be presented clearly and concisely in a manageable format that allows the


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  Court and Defendants to know what claims are being asserted and to be able to respond to those

  claims.” Moore v. Cosarrubias, No. 18-cv-00259-GPG, 2018 WL 11145813, at *2 (D. Colo. Mar.

  9, 2018). To meet the requirements of Rule 8, Mr. Shaver must provide more than “a bare

  averment that he wants relief and is entitled to seek it.” Noor v. Hickenlooper, No. 13-cv-00692-

  REB-CBS, 2013 WL 1232201, at *1 (D. Colo. Mar. 26, 2013). In addition, Mr. Shaver must

  comply with Rule 10 and list all Defendants he wishes to sue in the caption of any amended

  pleading he chooses to file.

  III.   Recusal

         Finally, Mr. Shaver suggests that the undersigned should recuse herself from this case.

  First, he contends that “[j]udges may face penalties for unduly burdening plaintiffs, i.e. with basic

  research, or failing to consider relevant case law.” [Doc. 24 at 5]. He represents that he “believes

  this Judge’s ‘Order to Show Cause’ has likely displayed impatience and some disregard, which

  may further qualify for Recusal in this case.” [Id. at 6]. Mr. Shaver also references case law

  establishing that judges should recuse themselves where their impartiality might reasonably be

  questioned. [Id.].

         Pursuant to 28 U.S.C. § 455(a), “[a]ny justice, judge, or magistrate judge of the United

  States shall disqualify [herself] in any proceeding in which [her] impartiality might reasonably be

  questioned.” Recusal is required when “a reasonable person, knowing all the facts, would harbor

  doubts about the judge’s impartiality.” Bryce v. Episcopal Church in the Diocese of Colo., 289

  F.3d 648, 659 (10th Cir. 2002). But recusal is not warranted because of “unsubstantiated

  suggestions of personal bias or prejudice,” id. at 659–60, and “a judge has as strong a duty to sit

  when there is no legitimate reason to recuse as [she] does to recuse when the law and facts require.”

  Nichols v. Alley, 71 F.3d 347, 351 (10th Cir. 1995). Where a party seeks recusal of a judicial



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  officer, there is a “substantial burden on the moving party to demonstrate that the judge is not

  impartial” by presenting facts that support the objective perception of potential bias. In re

  McCarthey, 368 F.3d 1266, 1269 (10th Cir. 2004).

         The Court respectfully disagrees that recusal is warranted here. As previously explained

  to Mr. Shaver, this Court is obligated to assure itself of its jurisdiction over every case and cannot

  proceed without satisfying itself of its jurisdiction. Cunningham, 427 F.3d at 1245. Mr. Shaver

  offers no basis as to why this Court’s impartiality might reasonably be questioned based on its

  issuance of the Order to Show Cause, which all judges in this District issue on a regular basis,

  particularly to inquire about the Court’s jurisdiction to proceed. In addition, while the Court is

  mindful that Plaintiff proceeds without an attorney and therefore, the Court interprets his filings

  liberally, Plaintiff must still comply with procedural rules and substantive law as is required of

  represented parties. See Murray, 312 F.3d at 1199 n.3 (observing that a party’s pro se status does

  not relieve him of the obligation to comply with procedural rules) (citation omitted); Dodson, 878

  F. Supp. 2d at 1236.

         It is well settled that adverse rulings, or rulings that a party does not agree with, do not

  provide a sufficient basis for recusal. See Glass v. Pfeffer, 849 F.2d 1261, 1268 (10th Cir. 1988);

  Green v. Dorrell, 969 F.2d 915, 919 (10th Cir. 1992). Accordingly, Mr. Shaver has not met the

  substantial burden of demonstrating why the undersigned’s recusal is required in this case.

                                            CONCLUSION

         For the reasons set forth herein, it is ORDERED that:

         (1)     The Order to Show Cause [Doc. 16] is MADE ABSOLUTE;

         (2)     Plaintiff’s Complaint [Doc. 1] is DISMISSED without prejudice for lack of

                 subject matter jurisdiction;



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        (3)   Plaintiff is GRANTED LEAVE to file an amended complaint within 21 days of

              the date of this Order;

        (4)   Plaintiff is ADVISED that any amended pleading must comply with Rule 8 and

              Rule 10 of the Federal Rules of Civil Procedure;

        (5)   Plaintiff is ADVISED that if he fails to file an amended pleading by the Court’s

              deadline, this Court will direct the Clerk of Court to terminate this case

              without further warning from the Court;

        (6)   The pending Motions in this case [Doc. 2; Doc. 10; Doc. 11; Doc. 12; Doc. 14;

              Doc. 19] are DENIED without prejudice as moot; and

        (7)   A copy of this Order shall be sent to:

                     David William Dacres Shaver
                     1750 30th Street
                     #A338
                     Boulder, CO 80301



  DATED: April 12, 2023                                BY THE COURT:


                                                       _________________________
                                                       Nina Y. Wang
                                                       United States District Judge




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  □ District Court □ Boulder County □ BoulderFederal
                                              Municipal Court            FILED

  Address:901 19th Street, Denver, CO 80294 ■
                                                     Court    UNITED STATES DISTRICT COURT
                                                                   DENVER, COLORADO
                                                                                     1:07 pm, May 03, 2023
  Plaintiff:             David William Dacres Shaver                         JEFFREY P. COLWELL, CLERK
  Vs. Defendant(s):      Whittier Condominiums HOA,
                         (City of Boulder Sent Notice)
                                                                             A COURT USE ONLY A
  ‘Pro Se’Party/Not member of Colorado Bar (Name and Address): Case Number:
  David William Dacres Shaver
  1750 30th St Suite A338, Boulder CO 80301               23-cv-00645-NYW
  Phone Number: 303-351-4239 eMail:davidwshaver@yahoo.com
  (Amended Original)
    BRIEF IN SUPPORT OF COMPLAINT FOR REPLEVIN+ / PRELIMINARY INJUNCTION

  Standards for judgement on this issue appear to include FRCP Rule 64,65,CRCP Rule 104 &| 365

                                         STATEMENT OF FACTS:

  Plaintiff believes that this Brief supports & relies upon the Verified Complaint, providing precedents,

  factual allegations & claims (along with other filings) demonstrating Plaintiff’s entitlement to relief.

  INTRODUCTION TO ISSUES:

         This brief seeks to demonstrate that Plaintiff is entitled to a replevin recovery of their posses-

  sions, from the fire-damaged condominium, and/or damages, as the actions of the Defendant(s) have

  unjustly prevented Plaintiff from accessing or repossessing personal property. Plaintiff intends to ana-

  lyze provided supporting precedents and show how they support our arguments, including that the

  Defendant(s)' actions have violated Plaintiff's Rights under the U.S. Constitution.

   [Historically, under English foundations of common law, a creditor was permitted to use self-help to

    recover possession of a ‘chattel’that was wrongfully detained, provided this could be accomplished

  without breaching the peace.' Blackstone's Commentaries on the Laws of England (Book 3, Chapter 1

  (II)): “Recaption or reprisal is another species of remedy by the mere act of the party injured. This hap-

    pens when any one hath deprived another of his property in goods or chattels personal, . . . in which

  case the owner of the goods . . . may lawfully claim and retake them wherever he happens to find them,

                  so it be not in a riotous manner, or attended with a breach of the peace.”]

  [RULES]

     1) Forcible Self-help was reportedly effectively the original recourse, before Glanville’s “Tractatus

  de legibus et consuetudinibus regni Anglie” ~invented a more procedural approach to the law, including



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  ‘replevin’ to recover one’s property. Plaintiff’s attempts at self-help repossession of his property have

  been repeatedly rebuffed; his suggestions of alternative methods (i.e. professional rope access techni-

  cians, or robotic recovery) met only with silence, his requests for statutory or legal basis ignored. What

  few excuses yet given, have largely had reference to insurance policies, rather than the letter or intent

  of any law. The situation as it stands appears clearly not to be what the founders of the English legal

  system intended. Even the ‘Universal Commercial Code’ of today (i.e. CRS 4-9-629,4-9-609(2)) shows

  clear basis for the intent of self-help retaking of one’s own property, if you adopt the proper perspective

  (and some of Plaintiff’s company (D’Acre Holdings llC of Colorado)’s property, which he effectively

  lent to himself!, is on premises!).

     2) According to the United States' Constitution: The 5th Amendment holds that “no person shall be

  ... deprived of life, liberty, or property, without due process of law .... “, and the 14th Amendment (Civil

  Rights) says “no state shall ... deprive any person of life, liberty, or property, without due process of

  law .... “. Colorado’s constitution also contains a due process provision. Section 25 of Article II reads:

  “Due process of law. No person shall be deprived of life, liberty or property, without due process of

  law”. If the destruction of the property were allowed to occur before portions of this action were

  allowed to be decided on its merits, Plaintiff believes that would be a violation of due process.

     3) Further: U.S. 4th Amendment rights. Under the 4th Amendment, seizures of property must be

  reasonable under the circumstances. In {Segura v. United States, 468 U.S. 796 (1984)}, the Supreme

  Court clarified the interpretation of the 4th Amendment, holding that the rights of owners to access

  their own property can only be delayed for the amount of time necessary to obtain any necessary war-

  rant(s) for investigation. In {Chambers v Maroney, 39 U.S. 42 (1970)}, the Supreme Court held that the

  4th Amendment's prohibition on unreasonable seizures applies to the seizure of property as well as to

  the seizure of persons. In {U.S. v. Place, 462 U.S. 696 (1983)}, the Supreme Court held that seizures

  may become unreasonable because of their duration. In {Nardone v United States, 308 U.S. 338 340

  (1939)}, the Supreme Court held that indirectly enforcing a long-term illegal seizure of residents' prop-

  erty is "inconsistent with ethical standards and destructive of personal liberty." Other applicable prece-


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  dents appear to include: {United States v. Jacobsen, 466 U.S. 109 (1984)}: In this case, the Supreme

  Court held that the 4th Amendment's prohibition on unreasonable searches and seizures applies to the

  seizure of tangible property, such as packages. Also, {Soldal v. Cook County, 506 U.S. 56 (1992)}: In

  this case, the Supreme Court held that the 4th Amendment's prohibition on unreasonable seizures

  applies to the seizure of mobile homes, & that seizure of a mobile home must be reasonable under the

  circumstances.

     4) Colorado Revised Statutes section (i.e. CRS § 24-10-103) lends support for a Cause of Action

  for Civil Rights violations. In this case, Plaintiff believes that his, and other residents, U.S. 4th

  Amendment rights their own property were infringed upon. His attempts to peacefully use self-help to

  recover personal possessions were even met with force. Federal law, i.e.: 18 U.S.C. 242 : +‘depriva-

  tion of rights’ indicates that Police are generally considered to be acting under color of state law in the

  performance of their duties. Here are some notable precedents, particularly for ‘Color of’ State Law:

  {Jackson v. Metropolitan Edison Co., 419 U.S. 345, 351, 42 L. Ed. 2d 477, 95 S. Ct. 449 (1974)}: ...a

  private party is a state actor when there is a sufficiently close nexus between the government and the

  challenged action of the private party that the action of the private party is fairly treated as that of the

  government itself; Further the ‘symbiotic relationship test’, {Burton, 365 U.S. at 862}: a private party

  is a state actor when the government has so far insinuated itself into a position of interdependence with

  that party that the government must be recognized as a joint participant in the challenged activity.

  {Monroe v. Pape, 365 U.S. 167 (1961)}: In this landmark case, the Supreme Court held that 42 U.S.C.

  § 1983 provides a cause of action for individuals whose constitutional rights are violated by state offi-

  cials, even if the state officials acted in violation of state law. {Estelle v. Gamble, 429 U.S. 97

  (1976)}: This case expanded the scope of § 1983 actions by establishing that deliberate indifference to

  an inmate's serious medical needs can constitute cruel and unusual punishment under the Eighth

  Amendment, thus providing a basis for a § 1983 action. {Monell v. Dept of Soc. Servs., 436 U.S. 658,

  701 (1978)} holding that cities/municipal corps may be named in Section 1983 lawsuits. {Owen v. City

  of Independence, 445 U.S. 622 (1980)}: further clarified that municipalities, as well as individuals,


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  could be held liable under § 1983 for constitutional violations, and that municipalities are not immune

  from liability for damages under § 1983. {Lugar v. Edmondson Oil Co., 457 U.S. 922 (1982)}: In this

  case, the Supreme Court established a two-part test for determining whether a private party's conduct

  could be considered state action for the purposes of § 1983. The Court held that the conduct must be

  fairly attributable to the state, and that the private party must have acted under the color of state law.

  {Richardson v. McKnight, 521 U.S. 399 (1997)}: private corporations are not immune. Government

  actors don’t necessarily have to be directly included as Defendant(s). {Adickes v. S.H. Kress & Co.,

  398 U.S. 144 (1970)}: ... ~ private parties can be held liable via § 1983 for conspiring w/state officials

  to deprive someone of constitutional rights. Applications including consideration of ‘Color of’

  Federal law: {Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388

  (1971)}. This case established that individuals have a right to bring a federal Civil Rights action for

  damages against officials who have violated their 4th Amendment rights. ‘Bivens’has also been

  applied against private companies acting under ‘Color of’ Federal law: {Sarro v. Cornell Corrections,

  Inc., 248 F.Supp.2d 52,59 (D.R.I. 2003)} (which also held that held private companies can be held

  liable via Bivens, especially when there is no alternative remedy against them). Plaintiff believes that

  these are in line with ‘joint and several liability’ concepts, and that parties should be able to join other

  Defendants if necessary or appropriate for fair distribution of responsibility.

     5) In further precedent such as {Levine v Katz 192 P 3d 1008 (2006)}(II) Colorado Court of

  Appeals considered it an error to ‘dismiss for lack of subject matter jurisdiction’, holding that Plaintiff

  must be provided a ‘forum in which to obtain legal redress’.[DNPC#21PR30635:.07.30][Doc 24 p6]

     6) The argument in favor of a preliminary injunction is supported by C.R.C.P Rule 365, according

  to which injunctions may be granted in Colorado counties if after: “(c)(1) (a) it clearly appears from

  specific facts shown by affidavit or by the verified complaint or by testimony that immediate and

  irreparable injury, loss, or damage will result to the plaintiff before the adverse party or the party’s

  attorney can be heard in opposition, and (b) the plaintiff or the plaintiff’s attorney certifies to the court

  in writing or on the record the efforts, if any, which have been made to give notice and the reasons sup-


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  porting a claim that notice should not be required”. Further, {Rathke v. MacFarlane (State of

  Colorado), 648 P.2d 648 (Supreme Court of Colorado, 1982)} established six factors for evaluation of

  injunctions in Colorado, which Plaintiff believes have been met <see below>.

     7) Precedents that could potentially support the use of judicial inference in these filings: {Ashcroft

  v. Iqbal, 556 U.S. 662 (2009)}: This case established that a plaintiff can plead sufficient factual content

  that allows the court to draw a reasonable inference that the defendant may be held liable for the

  alleged misconduct. {United States v. Simpson, 813 F.3d 706 (8th Cir. 2016)}: Held that judicial infer-

  ence may be used to draw reasonable inferences from circumstantial evidence, as long as those infer-

  ences aren’t merely based on speculation or conjecture. Plaintiff believes that the evidence, and refer-

  ences to the Public Record, should thus receive Judicial Notice during evaluation (i.e. FRCP 201(b)).

     8) Plaintiff believes that access to personal property should be supported by such laws as: ease-

  ments (i.e. CRS Title 38) i.e. by prior use and/or estoppel {Lobato v. Taylor, 71 P.3d 938}: ... are

  implied or inferable, referring further to: (see also {Wright v. Horse Creek Ranches, 697 P.2d 384, 387-

  88 (Colo. 1985)} (noting that an easement may be established by "necessity; by preexisting use; by

  express or implied grant; or by prescription")); {Wagner v. Fairlamb, 151 Colo. 481, 484, 379 P.2d 165,

  167 (1963)} (noting that implied easements are “not expressed by the parties in writing, but … arise

  out of the existence of certain facts implied from the transaction”)}]. For a “An Overview of Colorado

  Easement Law” {Ref: https://cl.cobar.org/features/an-overview-of-colorado-easement-law/},

     9) Plaintiff’s research indicates that there also appears to be ample case precedent for amendation

  of complaints when additional damages or causes (which may have not been determinable at the start

  {Foman v. Davis, 371 U.S. 178 (1962)}: This Supreme Court case ruled that leave to amend a com-

  plaint should be "freely given when justice so requires," allowing for the possibility of adding addition-

  al claims or causes of action based on new information. {Tech Telecommunications, Inc. v. Time

  Warner Cable, Inc., 714 F.3d 1277 (10th Cir. 2013)}: This Tenth Circuit case dealt with pleading stan-

  dards for patent infringement claims but has implications for amending complaints. The court held that

  "a plaintiff must provide some factual basis for its claims, but need not allege every supporting fact.".


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  {Gray v. Phillips Petroleum Co., 971 F.2d 591 (10th Cir. 1992)} - The 10th Circuit affirmed the district

  court's decision to allow the plaintiff to amend the complaint after the statute of limitations had run,

  based on the discovery of new information during the course of litigation. {Beeck v. Aquaslide 'N'

  Dive Corp., 562 F.2d 537 (10th Cir. 1977)} In this case, the court held that a party may amend their

  pleadings when justice so requires, even when new issues are introduced or when the opposing party

  may be prejudiced, as long as the prejudice is not undue.

    10) NFPA 921 establishes standards for testing of substances which may have caused a fire (i.s.

  Chapter 4,16,17.5.4,18), indicating that Defendant(s) apparent refusals to test appear unwarranted. (i.e.

  Substances used supposed to comply with NFPA 101, Ch. 10: Exterior Wall Finish, and/or NFPA 5000,

  Chapter 8 Fire-Resistance-Rated Construction and/or Ch. 14: Exterior Walls, and/or Ch. 34: Egress).

  CERCLA, 42 U.S.C. § 9601 et seq establishes a broad framework for the identification, investigation,

  and cleanup of hazardous substances. Under current U.S. Law, enforcement authority is granted to the

  President of the U.S.A., who delegates this authority to the Environmental Protection Agency (EPA).

    11) Plaintiff hasn’t yet received results from requested investigations (or ~discovery requests there-

  of), into HOA ownership/agent changes*, or chemical analyses of building construction components.

    12) In {United States v. James Daniel Good Real Property, 510 U.S. 43 (1993)}, the U.S. Supreme

  Court held that the government must provide an opportunity for a pre-seizure hearing for property that

  is ~ subject to forfeiture, to ensure that a resident's property rights are protected.

  [APPLICATION]

         Plaintiff is of the belief that: immediate and irreparable injury, loss, and/or damage of the sorts

     outlined in the complaint may result to the Plaintiff if Defendant(s) are allowed to continue in their

     course of action. Plaintiff has supplied a verified action for replevin, and evidence, which it

     believes should satisfy FRCP 65, and CRCP Rule 365’s requirements for an injunction. Further that

     Plaintiff’s complaint should succeed on the merits. Moreover, that the first four factors requested by

     the precedent of Rathke v. MacFarlane have been illustrated on the Motion for Preliminary

     Injunction; the fifth factor, that “the balance of the equities favors entering an injunction,” can most


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     likely be shown to be met in this case by comparing the potential loss of Plaintiff’s property to that

     of the cost of delay (none of which Plaintiff believes should have been necessary if the City or

     HOA had facilitated recovery earlier). The sixth Rathke factor, “that the injunction will preserve the

     status quo pending a trial on the merits,” would clearly have been easily met if the City or HOA

     had allowed access to the property as requested, months ago. Plaintiff’s personal property is in

     jeopardy (which property has received valuations in excess of the HOA’s insurance limits alone),

     and assurances of full reimbursement , even of those items deemed ‘replaceable’ have not yet been

     satisfactorily provided by parties. Any samples for chemical testing of building materials should be

     acquired before demolition. Plaintiff believes that the apparent Civil Rights, and/or Unjust Takings

     violations should also provide a basis for injunctive relief, and that issues such as these, and others

     outlined in the complaint, provide clear evidence of injustice that should be addressed before demo-

     lition may be allowed; further, that Defendant(s) are clearly attempting to obstruct Plaintiff’s rights

     under U.S. law, including to due process, in deciding these matters.

  [CONCLUSION]

     In conclusion, Plaintiff believes to have demonstrated through analysis of relevant precedents that

     Plaintiff's civil rights have been violated by the Defendant(s)’ actions, which have unlawfully pre-

     vented the Plaintiff from accessing possessions in the fire-damaged condominium, and that there is

     legal basis which supports his actions and requests. The policy implications of the Court's decision

     are critical, as a ruling in favor of Plaintiff would not only protect Plaintiff's rights but also serve as

     a deterrent against similar violations in the future. We hereby request that the Court should grant

     Plaintiff's complaint for replevin recovery and send a clear message that violations of Civil and/or

     Property Rights will not be tolerated, and any associated damages or other appropriate relief."

  [Plaintiff believes that time is of the essence in at least the Replevin Action of this Complaint, and thus

     has provided this initial brief with the intention of amending later (Rule 15) or as allowed]



  Signature of ‘Plaintiff’:                    /s/David W
                                                        m Shaver      (PRO SE)      Date:         5.03.2023

  Address: 1750 30th St Suite A338, Boulder CO 80301                                Phone:     303-351-4239
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 23-cv-00645-NYW

  DAVID WILLIAM DACRES SHAVER,

         Plaintiff,

  v.

  WHITTIER CONDOMINIUMS HOA,

         Defendant.


                                        FINAL JUDGMENT


         In accordance with the orders filed during the pendency of this case, and pursuant to Fed.

  R. Civ. P. 58(a), the following Final Judgment is hereby entered.

         Pursuant to the Orders of United States District Judge Nina Y. Wang entered on April 12,

  2023 [Doc. 27] and May 9, 2023 [Doc. 33], it is

         ORDERED that the Response and Motion to Stay/Extend Termination/Order of 4.12

  Pending Intended Appeal Outcome [Doc. 32] is DENIED. It is

         FURTHER ORDERED that because Plaintiff’s Complaint has been dismissed without

  prejudice for lack of subject matter jurisdiction, and because Plaintiff has not filed an amended

  pleading by the Court’s deadline, this case is TERMINATED. It is

         FURTHER ORDERED that final judgment is hereby entered in favor of Defendant

  Whittier Condominiums HOA and against Plaintiff David William Dacres Shaver.




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        Dated at Denver, Colorado this 9th day of May, 2023.

                                            FOR THE COURT:
                                            JEFFREY P. COLWELL, CLERK

                                            By: s/Emily Buchanan
                                            Emily Buchanan, Deputy Clerk




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  □ District Court □ Boulder County □ BoulderFederal
                                                 Municipal Court
                                                       Court
                                                                                 FILED

  Address:901 19th Street, Denver, CO 80294 ■
                                                                  UNITED STATES DISTRICT COURT
                                                                          DENVER, COLORADO
                                                                            6/7/2023
  Plaintiff:           David William Dacres Shaver                    JEFFREY P. COLWELL, CLERK
  Vs. Defendant(s):    Whittier Condominiums HOA,
                       City of Boulder, Officer Brandan Brisco
                                                                  /'! COURT USE ONLY /'!
  ‘Pro Se’Party/Not member of Colorado Bar (Name and Address) Case Number:
  David William Dacres Shaver
  1750 30th St Suite A338, Boulder CO 80301                                    23-cv-00645-NYW
  Phone Number: 303-351-4239 eMail:davidwshaver@yahoo.com
                                           NOTICE OF APPEAL

       Notice is hereby given that Plaintiff intends by this notice to Appeal this case to the United States

  Court of Appeals for the Tenth Circuit from the ‘Final Order’ [Doc 34] and associated filings, last

  entered in the United States District Court for the District of Colorado on 5.9.2023.



  Signature of ‘Plaintiff’:                   /s/David W
                                                       m Shaver      (PRO SE)      Date:        6.7.2023

  Address: 1750 30th St Suite A338, Boulder CO 80301                               Phone:     303-351-4239




                                       CERTIFICATE OF SERVICE
     I hereby certify that a copy of this Notice of Appeal has also been served via having been posted by

  regular mail upon [Suzanne Leff, Attorney, WLPP Law, 8020 Shaffer Parkway, Suite 300, Littleton,

  CO 80127], as well as being served electronically via eMail upon both Suzanne M. Leff <sleff@wlp-

  plaw.com> (current ‘RegisteredAgent’), and Christine Mollenkopf <christine@boulderhoa.com> :

  Whittier HOA billing (located at the prior registered agent's address, ~ at the time of the fire).




  Signature of ‘Plaintiff’:                   /s/David W
                                                       m Shaver      (PRO SE)      Date:        6.7.2023

  Address: 1750 30th St Suite A338, Boulder CO 80301                               Phone:     303-351-4239



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